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                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA

IRA KLEIMAN, as the personal representative            CASE NO.: 9:18-cv-80176-BB
of the Estate of David Kleiman, and W&K Info
Defense
Research, LLC

      Plaintiffs,

v.

CRAIG WRIGHT

      Defendant.

                                      PLAINTIFFS’ TRIAL EXHIBIT LIST


Exhibit       Bates/Document                                           Title                                     Objections
1         2nd Amended Ex. 17          Will of David Kleiman,dated July 30, 2003                                  COM
2         DEFAUS_00081546-            Email from C. Wright to D. Kleiman re Defamation and the difficulties of   H; A
          DEFAUS_00081552             law on the Internet, dated March 12, 2008
3         KLEIMAN_00164719-           Satoshi Nakamoto, "Bitcoin P2P e-cash paper," dated October 31, 2008       COM
          KLEIMAN_00164727
4         CONTROL01268220-            Professor Fautstus Twitter post dated December 6, 2008                     R; A

5         CONTROL01277609-            M. Relentless Twitter post                                                 H; R; A
6         DEF_01369334-               Email from D. Kleiman to C. Wright re 21 wipe falacy, dated December       H; A
          DEF_01369337                27, 2008



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7    DEF_00973364-         Craig S. Wright and Dave Kleiman, Scope of Work - Spyder extensions,      H; A
     DEF_00973373          dated January 8, 2009
8    KIMON_00000013-       Email from K. Andreou to I. Kleiman, dated May 16, 2016                   H
     KIMON_00000015
9    GAVIN_00000311-       Email from S. Nakamoto to G. Andresen re Why From: unknown in the         H; R
     GAVIN_00000311        UI?, dated July 2, 2010
10   GAVIN_00001004-       Email from S. Nakamoto to G. Andresen re Why From: unknown in the         H; R
     GAVIN_00001004        UI?, dated July 3, 2010
11   GAVIN_00000265-       Email from G. Andresen to S. Nakamoto re Security hole, running-server    H; R; A
     GAVIN_00000266        and browsing web, dated July 18, 2010
12   GAVIN_00000275-       Email from S. Nakamoto to G. Andresen te Patches for: bitcoin.conf file   H; R; A
     GAVIN_00000275        and HTTP Basic authentication, dated July 23, 2010
13   GAVIN_00000359-       Email from S. Nakamoto to G. Andresen re Two things: rpcpw, and           H; R; A
     GAVIN_00000359        svn:eol-style, dated August 29, 2010
14   GAVIN_00000251-       Email from S. Nakamoto to G. Andresen re Patches: return correct JSON     H; R; A
     GAVIN_00000252        error/HTTP status codes, and removed batch support, dated September 2,
                           2010

15   GAVIN_00000380-       Email from G. Andresen to S. Nakamoto re Shutdown on kill signal?,        H; R; A
     GAVIN_00000380        dated September 7, 2010
16   GAVIN_00000415-       Email from S. Nakamoto to G. Andresen re Updated JSON-HTTPS patch,        H; R; A
     GAVIN_00000415        dated October 8, 2010
17   GAVIN_00000641-       Email from G. Andresen to S. Nakamoto re testnet switch, dated October    H; R; A
     GAVIN_00000641        18, 2010
18   GAVIN_00000253-       Email from S. Nakamoto to G. Andresen re Accounts, dated November 5,      H; R; A
     GAVIN_00000253        2010
19   GAVIN_00000645-       Email from S. Nakamoto to G. Andresen re listtransactions, dated          H; R; A
     GAVIN_00000646        November 15, 2010


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20   GAVIN_00000370-       Email from S. Nakamoto to G. Andresen re svn rev 181: I fixed the Mac    H; R; A
     GAVIN_00000370        FileVault performance bug, dated November 17, 2010
21   GAVIN_00000298-       Actual code from Satoshi Nakamoto (See Andresen Tr. 209:23).             H; A; R;
     GAVIN_00000299        Attachment to Andresen Dep. Ex. 57                                       COM
22   GAVIN_00000297-       Email from S. Nakamoto to G. Andresen re getchange.patch, dated          H; R; A
     GAVIN_00000297        November 26, 2010
23   GAVIN_00000348-       Email from S. Nakamoto to G. Andresen re Project management: Satoshi     H; R; A
     GAVIN_00000349        doesn't scale?, dated December 19, 2010
24   GAVIN_00000257-       Email from S. Nakamoto to G. Andresen re Client-only mode, sybil attack, H; R; A
     GAVIN_00000257        dated December 23, 2010
25   2nd Amended Ex. 3     W&K Info Defense Research LLC Florida Articles of Incorporation, dated
     Eisner Dep. Ex. 4     February 14, 2011
26   DEF_01854320-         Limited Liability Company Agreement of W&K Info Defense Research,        H; A; COM
     DEF_01854337          February 15, 2011
27   DEF_00009663-         Email from D. Kleiman to C. Wright and L. Wright re Registration -
     DEF_00009664          TTAI, dated February 15, 2011
28   DEF_00018706-         Email from C. Wright to L. Wright and D. Kleiman re Link to R&D site,
     DEF_00018706          dated February 15, 2011
29   DEF_00009667-         Email from D. Kleiman to C. Wright re Registration - TTAI, dated
     DEF_00009668          February 16, 2011
30   DEF_00285685-         Email from R. Radvanovsky to C. Wright re Long time and all, dated
     DEF_00285685          February 16, 2011
31   DEFAUS_00093292-      Email from C. Wright to D. Kleiman re Reference, dated March 6, 2011     A; H
     DEFAUS_00093292
32   KLEIMAN_00561675-     Intellectual Property License Funding Agreement between C. Wright and    H; A; CML
                           W&K, dated April 22, 2011




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33   GAVIN_00001553-       Email from S. Nakamoto to G. Andresen re alert message key, dated April   H; R; A
     GAVIN_00001554        26, 2011
34   DEFAUS_00521091-      Panopticrypt Pty Ltd Certificate of Registration, dated June 20, 2011     H; R; A;
     DEFAUS_00521091                                                                                 CHAR
35   DEF_00002413-         Email from D. Kleiman to C. Wright re Requested attached, dated June      H; IC; A;
     DEF_00002416          24, 2011 Tulip Trust                                                      COM; IB
36   DEF_00050985-         Deed of Trust for Tulip Trust                                             H; R; A
     DEF_00050989
37   DEF_00056403-         Email from D. Kleiman to C. Wright re Requested attached, dated June      H; A; COM;
     DEF_00056407          24, 2011. Tulip Trust                                                     IC
38   DEF_00027300-         Email from D. Kleiman to C. Wright re Dickless, dated June 28, 2011       H; R; CHAR;
                                                                                                     UP; A
39   DEFAUS_00065535-      Declaration of Trust, dated July 21, 2011                                 H; R; A; IB
     DEFAUS_00065535
40   DEFAUS_00065561-      Abacus (Seychelles) Limited Incorporation Form, dated July 21, 2011       H; R; IB
     DEFAUS_00065566
41   Wilson Dep. Ex. 22-   U.S. Patent 14354359 invented by J. Wilson and C. Wright, dated October
                           28, 2011
42   DEF_00013808-         Email from C. Wright to S. Matthews and R. Watts re This week, dated      H; R; A;
                           October 27, 2015                                                          CML; UP
43   Edman Dep. Ex. 17-    Email from R. Watts to C. Wright re Trusts, dated May 28, 2012            H; A

44   DEF_00264618-         Email from C. Wright to R. Radvanovksy re [!!] [SCADABOOK] Need           H; R
     DEF_00264618          your biographies by EOW (Friday, June 15th)…, dated June 13, 2012
45   KLEIMAN_00194012-     Email from C. Wright to D. Kleiman re IFIP-WG11.9 CFP, dated Octover      H; A
     KLEIMAN_00194014      10, 2012




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46   DEF_00023349-          Email from D. Kleiman to C. Wright re Payment terms, dated October 11,   H; A
                            2012
47   DEF_01369890-          Companies House - D. Kleiman Appointment of Director, dated October      H; R; A
     DEF_01369890           14, 2012
48   DEF_00051504-          Deed of Loan between Design by Human Ltd., C. Wright and Denariuz        H; A; CML
                            Seychelles Trust, dated October 23, 2012
49   DEF_00022208-          Email from C. Wright to D. Kleiman re 1st CFP - ICT and Informing        H; A
     DEF_00022210           Science and Engineering, dated October 26, 2012
50   DEF_00013376-          Bitmessage from D. Kleiman to C. Wright, dated November 11, 2012         H; A
     DEF_00013395
51   Warren Dep. Ex. P11-   Bitmessage from J. Warren, dated November 11, 2012                       H; R; COM

52   Warren Dep. Ex. P4-    Bitmessage from J. Warren, dated November 19, 2012                       H; R; COM
53   Warren Dep. Ex. P3-    Bitmessage from J. Warren, dated November 19, 2012                       H; R; COM

54   Warren Dep. Ex. P5-    J. Warren, "Bitmessage: A Peer-to-Peer Message Authentication and        R; H
                            Delivery System," dated November 27, 2012
55   Warren Dep. Ex. P2-    Email from D. Kleiman to C. Wright re Brits, dated December 15, 2012     H; A
     DEF_00022264
56   DEF_00000041-          Email from D. Kleiman to C. Wright re Divorce, dated January 16, 2013    H; A; IB
     DEF_00000044
57   DEF_00000170-          Email from D. Kleiman to C. Wright, dated January 16, 2013               H; A; IB
     DEF_00000189
58   DEF_00000466-          Email from D. Kleiman to C. Wright re Divorce, dated January 16, 2013    H; A; IB
     DEF_00000469
59   DEF_00028010-          Email from C. Wright to J. Chesher and R. Watts, Fwd of Email with D.    H; A
     DEF_00028014           Kleiman re "Divorce", Dated January 23, 2013



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60   KLEIMAN_00068201-      Computer Forensics, LLC Operating Agreement, dated February 1, 2013

61   DEF_00027325-          Email from D. Kleiman to C. Wright re Long time, dated February 2, 2013     H; A
     DEF_00027325
62   DEF_00013694-          Contract for the Sale of Shares between D. Kleiman, C. Wright and W&K,      H; A
     DEF_00013703           dated April 2, 2013
63   DEFAUS_00671341 -      Coin-Exch Shareholder Agreement                                             COM
     DEFAUS_00671415
64   DEFAUS_00662659-       Software Development Agreement between C. Wright, D. Kleiman and            A; H
     DEFAUS_00662727        Strasan Pty Ltd, dated April 4, 2013
65   DEF_00029509-          Email from H. Khuu to C. Wright re Cloudcroft Pty Ltd                       H; R; A;
     DEF_00029540           [SEC=UNCLASSIFIED], dated April 5, 2013                                     CHAR; IC
66   DEFAUS_00708272-       Australian Securities & Investments Commission - Change to Company          H; R; P
     DEFAUS_00708273        Details - C01N PTY LTD, dated April 22, 2013
67   Boedeker Dep. Ex. 3-   Excel Sheet that looks like a summary that went into some of the statistical H
                            tests (See Boedeker 15:20-22)
68   Boedeker Dep. Ex. 4-   Expert Report of S. Boedeker Ex. B - List of Materials Reviewed, dated      H
                            April 10, 2020
69   Boedeker Dep. Ex. 5-   Email from V. Freedman to Z. Kass re Boedeker, dated April 21, 2020         H

70   DEF_01369891-          Companies House - D. Kleiman Termination of Appointment of Director,        H; R
     DEF_01369891           dated April 26, 2013
71   Boedeker Dep. Ex. 6-   Email from V. Freedman to Z. Kass re Boedeker, dated April 22, 2020         H

72   DEF_00026682-          Email from T. Young to C. Wright re Meeting, dated April 30, 2013
73   DEF_00028015-          Email from C. Wright to J. Wilson and R. Watts re Some history, dated
     DEF_00028015           June 26, 2013


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74   DEF_00023252-          Deed of Asssignment between Craig Wright R&D and Strasan Pty Ltd,             H; A; R
     DEF_00023262           dated June 30, 2013
75   DEF_00031588-          Email from C. Wright to J. Wilson and R. Watts re Initial Accounts, dated     H; COM
     DEF_00031606           July 2, 2013
76   DEF_00266797-          Email from C. Wright to R. Watts re Next, dated July 2, 2013                  R; UP
     DEF_00266797
77   DEF_00023206-          Deed of assignment between Demorgan, Wright Family Trust and Craig
                            Wright, dated July 15, 2013
78   DEF_00030127-          Email from C. Wright to Fhalyce Dempster re Evidence, dated July 18,          H; R; UP
     DEF_00030127           2013
79   DEF_00262775-          Email from MYOB AU Customer Service to C. Wright re MYOB
     DEF_00262775           AccountRight Live Admisntrator - invitation accepted, dated August 8,
                            2013

80   DEF_00267325-          Email from C. Wright to J. Alastair and I. Brightwell re iVote Strategy for   H; R
     DEF_00267326           the NSW State General Election 2015, dated August 8, 2013
81   DEF_00043726-          Email from J. Wilson to J. Wilson, R. Watts and C. Wright re Pojects - To     H; R
     DEF_00043727           plan, dated August 11, 2013
82   2nd Amended Ex. 11     Statement of Claims filed in New South Wales Supreme Court, dated             H; A; UP
     Craig Dep. I Ex. 10-   August 12, 2013
83   Warren Dep. Ex. P6-    Bitmessage from J. Warren, dated August 12, 2013                              H; R; A

84   2nd Amended Ex. 30-    Acknowlegment of Liquidated Claim filed in New South Wales Supreme            H; A
                            Court, dated August 19, 2013
85   2nd Amended Ex. 19-    Consent Order filed in New South Wales Supreme Court, dated August            H; A
                            28, 2013
86   DEF_00029293-          Deed of Assignment between The Wright Family Trust and Hotwire                H; A; R
                            Preemptive Intelligence Pty. Ltd., dated September 15, 2013


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87    DEFAUS_00555535-      Deed of Assignment between The Wright Family Trust and Coin-Exch
      DEFAUS_00555542       Pty. Ltd., dated September 15, 2013
88    DEFAUS_01582272 -     Coin-Exch/Demorgan Assignment
89    KLEIMAN_00559215-     Deed of Assignment between The Wright Family Trust and Cloudcroft           H; A; R
                            Pty. Ltd., dated September 15, 2013
90    DEF_00045496-         Email from C. Wright to J. Wilson re Urgent ASIC, dated September 20,       H; R
      DEF_00045496          2013
91    DEFAUS_00113043-      Email from C. Wright to R. Manu and J. Wilson re Advice, dated              H; R
      DEFAUS_00113045       September 23, 2013
92    DEF_00467687-         Email from S. Lipke to C. Wright, R. Urquhart, J. Wilaon, R. Watts and A. H; R
      DEF_00467687          Pedersen re ATO Ruling, dated September 27, 2013
93    DEFAUS_00604336 -     GST Calculation Worksheet                                                   H; R

94    DEFAUS_00553926-      Email from C. Wright to J. Spears re Discussion, dated October 2, 2013      H; R
      DEFAUS_00553926
95    DEFAUS_00702842 -     Email from C. Wright to M. Italia, R. Watts, J. Wilson and M. Hardy re re   H; R
      DEFAUS_00702847       Email 6 re Notification of Audit ABN 48 164 068 348 w/ Attachments
96    DEF_00046098-         Email from C. Wright to M. Italia re Email 7 re Notification of audit ABN   H; R; COM
                            48 164 068 348, dated October 6, 2013
97    DEF_00025094-         Email from C. Wright to M. Hardy re Discussion, dated October 9, 2013       H; R
      DED_00025095
98    DEF_01675338-         Email from C. Adams to R. Watts re 55 Hastings Rd.                          H; R
99    Choi Dep. Ex. 4-      Litigation Services Handbook: The Role of the Financial Expert, Chapter     H
                            5, "Ex Ante Versus Ex Post Damages Calculations, by E. Evans and R.
                            Weil

100   DEF_00045461-         Statutory Declaration of Stephen D'Emilio, dated October 11, 2013           H
      DEF_00045462


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101   DEF_00045457-           Email from C. Wright to M. Italia re Notification of audit ABN 48 164     H; R; COM
      DEF_00045495            068 348, dated October 12, 2013
102   DEFAUS_00108904-        Resignation Letter from J. Wilson to C. Wright, dated October 23, 2013    H; R; COM
      DEFAUS_00108908
103   Choi Dep. Ex. 5-        The Daily Hodl, "Massive Bitcoin Whale Triggered BTC Surge With           H; R; ILO;
                              $100 Million Order, Says Crypto Investment Firm CEO," dated April 2,      SPEC
                              2019
104   Wilson Dep. Ex. 20-     Hotwire Preemptive Intelligence Pty Ltd - Employee Remuneration           H; R; A
                              Schedule, dated October 29, 2013
105   Craig Dep. IV Ex. Z16   Transcript of Craig Wright before Registrar Bradford, dated October 30,   H; A
      MSJ Ex. 5-              2013
106   DEF_00002005 -          Affidavit of C. Wright filed in the Supreme Court of New South Wales,     H; A; R
                              dated November 4, 2013
107   DEF_00001971-           Common Law Resigstrar's Case Management Orders filed in New South         H; A
      DEF_00001982            Wales Supreme Court, dated November 6, 2013
108   2nd Amended Ex. 22-     Common Law Resigstrar's Case Management Orders filed in New South         H; A
                              Wales Supreme Court, dated November 6, 2013
109   DEFAUS_01746855-        Email from S. Nakamoto to A. Sommer re Fear of the future, dated          H; A; R;
      DEFAUS_01746856         January 9, 2014                                                           COM; P
110   DEF_01913478-           Email from C. Wright to J. Chesher, A. Sommer, and R. Watts re ATO        H; R; P
                              notices received 21 January 2014
111   DEF_01913521            Emai from C. Wright to J. Chesher, A. Sommer and R. Watts re review of    H; R; P; IC
      DEFAUS_00110564-        position.
112   DEFAUS_00516701-        Email from C. Wright to B. Wright re Intro, dated January 29, 2014        H
      DEFAUS_00516702
113   DEFAUS_00517436-        Email from C. Wright to S. Matthew re what we are doing.                  H; R; BER
      DEFAUS_00517476
114   DEF_00723975-           Email from C. Wright to R. Watts, A. Pedersen, R. MacGregor re Bodog      H; R


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115                         Email from C. Wright to J. Chesher, A. McCaughan, J. Slater and N.        H; R; UP; P;
      DEFAUS_01747134-      Mavrakis re Beer and congrats, dated February 3, 2014                     A
      DEFAUS_01747136
116   DEFAUS_01570588 -     Email from C. Wright to J. Chesher, A. McCaughan, J. Slater ad N.         H; R; A
                            Mavrakis re reciept, dated February 3, 2014
117   KLEIMAN_00008178-     Email from L. Kleiman to C. Wright re Dave, dated February 12, 2014       H; A

118   DEFHC_01519029 -      Powerpoint Presentation prepared for ATO                                  H; R
119   DEFAUS_00112712-      Email from C. Wright to I. Kleiman re Dave, dated February 15, 2014       H
      DEFAUS_00112713
120   DEFAUS_00112899-      Email from C. Wright to I. Kleiman re Dave, dated February 15, 2014       BER; A
      DEFAUS_00112906
121   KLEIMAN_00035329-     Email from P. Paige to C. Conrad re Difficult, dated February 16, 2014    H

122   DEFAUS_00112977-      Email from C. Wright to P. Paige re Difficult, dated February 17, 2017    IC; H
      DEFAUS_00112980
123   DEFAUS_00115520-      Transcript of Interview of C. Wright, J. Chester and A. Sommer by ATO,    H; R; UP; A;
      DEFAUS_00115560       dated February 18, 2014                                                   BER; CML
124   DEF_00001030-         Email from I. Kleiman to C. Wright re AGMO COE in IPv6.pptx, dated        H; R
      DEF_00001031          February 18, 2014
125   PAIGE_00002988-       Email from P. Paige to I. Kleiman re what's up, dated February 18, 2014   H; R
      PAIGE_00002991
126   PAIGE_00002979-       Email from I. Kleiman to P. Paige re what's up, dated February 20, 2014   H; R
      PAIGE_00002983
127                         Record of Interview of J. Chesher by ATO Auditor A. Miller, dated         H; R; UP; A;
      DEF_00051769-         February 26, 2014                                                         BER
128   DEFAUS_00068503-      Email from D. Kleiman to C. Wright re We have now a company in the        H; A; IB
      DEFAUS_00068504       UK, dated February 28, 2014


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129   KLEIMAN_00561744-       Email from C. Wright to I. Kleiman re Bond villains, dated March 2, 2014    H; A

130   DEFAUS 00115519-        Email from J. Chesher to C. Wright re Transcript and Meeting Minutes        H; R; A
      DEFAUS 00115519         [DLM=Sensitive], dated March 6, 2014
131   DEFAUS_00115729-        Email from C. Wright to I. Kleiman re FW: New year and all, dated March H; A
                              7, 2014
132   Andresen Dep. Ex. 59-   WSJ Moneybeat Blog by M. Casey, "Bitcoin Foundation's Andresen on           H; R; SPEC
                              Working With Satoshi Nakamoto," dated March 6, 2014
133   DEFAUS_00068579-        Email from C. Wright to I. Kleiman re This week, dated March 7, 2014        H; R; A; IB
      DEFAUS_00068580
134   DEFAUS_00115700-        Email from C. Wright to I. Kleiman re RDPlan - Integyrs.doc, dated          H; SPEC; A
      DEFAUS_00115701         March 7, 2014
135   DEF_00028008-           Email from C. Wright to J. Chesher re Bond villians, dated March 10,        H; A
      DEF_00028009            2014
136   DEF_00051010-           Ciudad del Saber Invoice sent to C. Wright, dated March 10, 2014            H; R; A;
      DEF_00051011                                                                                        CHAR
137   DEF_00068419-           Questions from the ATO about W&K Letter from J. O 'Halloran to C.           H; R; A
      DEF_00068425            Wright and J. Chesher re Questions relating to our audit, dated March 11,
                              2014

138   DEFAUS_00115888-        Email from C. Wright to I. Kleiman re Coin-Exch Balance Sheet, dated        H; A
      DEFAUS_00115896         March 11, 2014
139   DEFAUS_00115950-        Email from I. Kleiman to C. Wright re Another, dated March 11, 2014         H; A
      DEFAUS_00115956
140   DEF_01915128-           Email from C. Wright to A. Sommer and R. Watts re Draft Answer -            H; R; A; P
      DEF_01915143            Demorgan and CSW, dated March 16, 2014 with attachment




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141                         Email from C. Wright to A. Sommer and R. Watts re Draft Answer -           H; R; A; P;
      DEF_01913824-         Demorgan and CSW, dated March 16, 2014 with attachment                     IC
      DEF_01913840
142   DEF_01700403-         Email from C. Wright to J. Chesher, R. Watts, and A. Sommer re             P; H
      DEF_01700403          L11000019904, dated March 24, 2014
143   DEF_00053142-         Transcript of Craig Wright ATO Interview, dated March 28, 2014             H; R; UP; A;
      DEF_00053238                                                                                     BER
144   KLEIMAN_00562350-     W&K Reinstatement, dated March 28, 2014
      KLEIMAN_00562350
145   DEF_01914160-         Email from C. Wright to J. Chesher, R. Watts, and A. Sommer re UK -        H; P; A;
                            Design by Human, dated April 1, 2014                                       COM
146   DEF_01914162-         Email from C. Wright to J. Chesher, R. Watts, and A. Sommer re CFS         H; P
                            International Formations, dated April 1, 2014
147   DEFAUS_01859467-      Email from C. Wright to J. Chesher, R. Watts, A. Pedersen and A.           P; H
                            Sommer re code, dated April 1, 2014
148   DEFAUS_00559282-      Hotwire PE - WKID Cost Estimation                                          H; R; SPEC;
                                                                                                       ILO
149   DEFAUS_01859475-      Email from C. Wright to J. Chesher and A. Sommer re UK - design by         H; P
      DEFAUS_01859476       human, dated April 2, 2014
150   DEFAUS_01859492-      Email from C. Wright to A. Sommer, J. Chesher, and R. Watts re Points re   P; H
                            Coin Exch, dated April 9, 2014
151   DEF_00013767-         Email from C. Wright to I. Kleiman re WKID Software Evaluation, dated      H
                            April 15, 2014
152   DEFAUS_01565207-      Email from Ut Ng to Andrew Sommer re "nomination letter by dave"           H; R; A
                            Attachments: DEFAUS_01565208, DEFAUS_01565210
153   DEFAUS_01859521-      Email from C. Wright to A. Sommer, R. Watts, and A. Pedersen re            H; P
                            Hotwire Core Technology, dated April 16, 2014




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154   DEF_00053141-         Email from C. Wright to R. Watts re Transcript of Interview - 28 March    H; R; A
      DEF_00053141          2014 [DLM=Sensitive], dated April 23, 2014
155   DEF_01914239-         Email from J. Chesher to C. Wright, R. Watts and A. Sommer re NSWSC       H; R; P
                            transactions, dated April 23, 2014


156   DEFAUS_00118869-      Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014     H; A; CML
      DEFAUS_00118883
157   DEFAUS_00119167-      Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014     H; A; CML;
      DEFAUS_00119185                                                                                 SPEC
158   DEFAUS_00119230-      Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014     H; A; SPEC;
                                                                                                      CML
159   DEFAUS_00119296-      Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014     H; A; SPEC;
                                                                                                      CML
160   DEFAUS_00627954-      Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014     H; A; CML

161   DEFAUS_00628077-      Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014     H; A; SPEC;
                                                                                                      COM; CML;
                                                                                                      IC
162   KLEIMAN_00000136-     Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014     H; A; CML;
      KLEIMAN_00000157                                                                                IB; IC
163   KLEIMAN_00000270-     Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014     H; A; CML;
                                                                                                      IC
164   KLEIMAN_00004809-     Email from C. Wright to I. Kleiman re Chronology of Craig Wright, dated   H; R; A
                            April 25, 2014
165   DEF_00002146-         Email from A. Sommer to C. Wright and I. Kleiman re Letter, dated May     H
      DEF_00002155          1, 2014
166   DEF_01605214-         Email from C. Wright to A. McCabe, A. McEvoy and R. Watts re WKID         H; SPEC;
                            Software valuation, dated May 16, 2014                                    ILO; IC;
                                                                                                      CML; P


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167   KLEIMAN_00278108-     Email from I. Kleiman to C. Wright re memory recall, dated May 20, 2014    H

168   DEF_01667260-         Proof of Evidence Craig Wright, dated June 16, 2014                        H; R; P; A
      DEF_01667274
169   DEFAUS_00713248-      Letter from C. Wright to U. Nguyen re C01N Deed of Loan, dated June        H; R
      DEFAUS_00713266       27, 2014
170   DEF_01596539-         W&K Account Overview on High Secured, dated June 30, 2014                  H; CHAR
      DEF_01596539
171   DEFAUS_01860649-      Draft Witness Statement of Dr. Craig Wright                                H; R; P
172   DEF_00068665-         Transcript of ATO Interview of C. Wright, dated August 11, 2014            H; R; A;
      DEF_00068710                                                                                     BER; UP;
                                                                                                       SPEC; IB
173   DEFAUS_00560317-      Transcript of ATO Interview of C. Wright, dated August 18, 2014            H; R; A;
      DEFAUS_00560362                                                                                  BER; UP;
                                                                                                       SPEC
174   GAVIN_00000375-       Email from A. Andresen to J. Garzik, G. Maxwell, W. van der Laan, and
      GAVIN_00000376        P. Wuille re The satoshin@gmx.com account compromise, dated
                            September 9, 2014

175   DEFAUS_01861428-      Email from C. Wright to R. Watts and A. Sommer re Our meeting              H; R; P;
                            Monday, dated September 17, 2014                                           CML
176   DEF_01597497-         Email from C. Wright to K. Unger re Statement, dated September 22,         H; R; UP
      DEF_01597499          2014
177   DEF_00022356-         Associations between Craig Wright, related entities W&K                    H
178   DEF_01597059-         Email from C. Wright to KPMG re CO1N ATO Review, dated October             H; UP; P
                            11, 2014
179   DEFAUS_00519695-      Abacus (Seychelles) Limited Invoice sent to C. Wright, dated October 17,   H; R; CHAR
      DEFAUS_00519695       2014




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180   DEFAUS_00519698-      Abacus (Seychelles) Limited Invoice sent to C. Wright, dated October 17,   H; R; CHAR
      DEFAUS_00519698       2014
181   DEFAUS_00519816-      Email from Lee to C. Wright re valuation, dated October 28, 2014           H
182   DEF_00041965-         Certificate for Advance Findiing…re Coin-Exch, dated November 6, 2014      H; A
183   DEF_00029339          Software Engineering Valuation, dated November 13, 2014                    H; A; ILO;
      DEFAUS_0071407                                                                                   SPEC; CML
      DEFAUS_01868822-
      DEF_00029377
184   GAVIN_00001296-       Email from J. Brady to G. Andresen re Core Code, dated November 25,        H; R; A
      GAVIN_00001297        2014
185   BEV_00321565-1-       Email from A. Pedersen to J. Warren re BitMessage: Security Software
      BEV_00321565-2        Code review, dated December 2, 2014
186   DEF_00239622-         Email from C. Wright to Grays Invoice re Grays - Your Paid Invoice         H; R; CHAR
      DEF_00239623          2091381-26, dated December 5, 2014
187   DEF_01896241-         Email from C. Wright to A. Sommer and R. Watts re bitmessage , dated       P; R; H
                            December 31, 2014
188   DEFAUS_01864463-      Email from C. Wright to A. Sommer and R. Watts re C01N supporting,         P; H; A
                            dated February 1, 2015
189   DEF_01097415-         Email from C. Wright to R. Watts re ATO Game, dated February 4, 2015       H; UP
      DEF_01097415
190   DEF_00056567-         Email from A. Pedersen to C. Wright and Ramona Watts re preparation        H; R
                            for ATO meetings, dated March 26, 2015
191   DEFAUS_01867166-      Emaiil from H. Miller to C. Wright, R. Watts, and A. Sommer re meeting - H; R; P
                            possible investor, dated April 17, 2015
192   DEF_01591420-         Email from R. De Gracia to C. Wright, R. Watts, H. Miller and A.           H; R; UP;
      DEF_01591420          Sommer re Bitmessage, dated Apirl 28, 2015                                 CML; P;
                                                                                                       CHAR




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193   DEF_01616105-         Email from R. De Gracia to A. Sommer, H. Miller and R. Watts re Email    H; R; UP;
      DEF_01616106          contact, dated April 28, 2015                                            CML; P;
                                                                                                     CHAR
194   DEF_01587950-         Email from HighSecured to A. Sommer re Privilege Asserted, dated May     H; R; UP;
      DEF_01587950          3, 2015                                                                  CHAR
195   DEF_01588028-         Email from HighSecured to A. Sommer re Privilege Asserted, dated May     H; R; UP;
      DEF_01588028          3, 2015                                                                  CHAR
196   DEFAUS_00643772-      Email from HighSecured to A. Sommer re Privilege Asserted, dated May     H; R; P;
                            3, 2015                                                                  CHAR
197   DEFAUS_01807944-      Email from HighSecured to A. Sommer re Privilege Asserted, dated May     H; R; UP;
      DEFAUS_01807944       3, 2015                                                                  CML; CHAR
198   DEF_01675811          Email from A. Pedersen to C. Wright and Ramona Watts re MacQuarie        H; R; A;
      DEF_01675812-         Bank, dated May 4, 2015, with attachments.                               CML
199   DEF_01587951-         Email from R. De Gracia to C. Wright re HighSecured.com, dated May 6,    H; R; CHAR
      DEF_01587952          2015
200   DEFAUS_00550141-      Email from M. Seven to C. Wright re Email, dated May 21, 2015            H; R; UP;
      DEFAUS_00550142                                                                                CML
201   DEF_01899887-         Email from R. Watts to C. Wright re coin response, dated May 22, 2015    H; R
202   DEF_00051013-         Invoice from Clayton Utz for Amended Contract to R. Watts, dated May     H; R; CHAR
      DEF_00051013          25, 2015
203   DEF_01899834-         Email from C. Wright to A. Sommer, H. Miller, and R. Watts re            P; H; UP
                            Agreement - para 19
204   DEF_01222659-         Email from R. De Gracia to A. Sommer re Invoice, dated May 27, 2015      H; R; P;
      DEF_01222659                                                                                   CML; A;
                                                                                                     CHAR
205   DEF_01588060-         Email from HighSecured to A. Sommer re Digital Evidence (Final), dated   H; R; UP; P;
      DEF_01588061          May 30, 2015                                                             A; CHAR




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206   DEF_01588062-         Email from R. De Garcia to A. Sommer re Letter, dated May 30, 2015         H; R; UP; P;
      DEF_01588064                                                                                     COM; CML;
                                                                                                       CHAR

207   DEF_01608290-         Email from T. Murray to C. Wright and Ramona Watts re prepayment,          H; R; UP; P
                            dated June 3, 2015
208   DEFAUS_00713213-      Email from R. Watts to K. Khoo re New submission from ONLINE               H; R; UP
      DEFAUS_00713245       INCORPORATION FORM - DENARIUZ - signed documents for your
                            review, dated June 3, 2015

209   DEFAUS_01868452-      Email from C. Ayre to C. Wright, S. Matthews, JLP, M. Bianchi, Dr. Errol   H; R; P
                            Cort re thinking from last night, dated June 10, 2015
210   DEFAUS_00651315-      Skype between C. Wright and S. Matthews, June 14, 2015                     H; R



211   DEFAUS_01062646-      Email from C. Ayre to C. Wright re Letter of Intent, dated June 14, 2015   H; R
212   DEF_00023318-         Email from C. Wright to U Ng, R. Watts re ATO request, dated June 18,      R; H
                            2015
213   DEF_00175405-         Email from C. Wright to C. Ayre, S. Matthews, and JLP re for 1:30          H; R
                            meeting, dated June 18, 2015
214   DEF_00722915-         Email from C. Wright to C. Ayre, S. Matthews, and C. Hoffman re Letter     H; R
                            of Intent, dated June 18, 2015
215   DEF_01674223-         Email from C. Wright to C. Ayre re OK…finished first cut of thr LOI just   H; R
      DEF_01674225          now, dated June 20, 2015
216   DEFAUS_00651738-      Email from C. Ayre to C. Wright and C. Hoffman re can one of you           H; R; P
                            guys…, dated June 20, 2015
217   DEFAUS_01585291-      Email from C. Ayre to C. Wright re OK…finished first cut of the LoI just   H; A; R;
      DEFAUS_01585293       now, dated June 20, 2015                                                   COM




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218   DEF_01103312-         Email from R. Watts to I. Kleiman re questions, dated June 22, 2015
      DEF_01103315
219   DEFAUS_01581818-      Email from C. Ayre to C. Wright re OK…finished first cut of the LoI just   H; R
                            now, dated June 22, 2015
                            ATTACHMENTS: DEFAUS_01581821- Budget.xlsx,
                            DEFAUS_01581822- Summary of Issues and Position

220   KLEIMAN_00398965-     Letter from J. O'Halloran from ATO to A. Sommer re Completion of           H; A; UP;
                            Audit, dated June 22, 2015                                                 MIL
221   DEF_01103285;         Email from R. Watts to I. Kleiman re questions, dated June 23, 2015        IC; H; R; UP;
      DEF_01110548;                                                                                    P
      DEF_01894962;-
      DEF_01103291;
      DEF_01110548;
      DEF_01894971
222   DEF_01103305-         Email from R. Watts to C. Wright re Questions, dated June 23, 2015         H
223   DEF_00052514-         Email from C. Wright to R. Watts re Transcript and Meeting Minutes,        H; R
      DEF_00052514          dated June 24, 2015
224   DEF_00175399-         Email from C. Wright to S. Matthews and R. Watts re things to send to      H
                            Stefan, dated June 24, 2015
225   DEF_00022384-         Email from R. Watts to S. Matthews re Minority shareholder - Ira           H; A
      DEF_00022384          Kleiman, dated June 27, 2015
226   DEF_00022534-         Email from S. Matthews to R. Watts re Minority Shareholder - Ira           H; A
                            Kleiman, dated June 27, 2015
227   DEF_00004842          Email from S. Matthews to C. Wright and R. Watts re coin-ex, dated June    H; IC; R
      DEF_01108970          28, 2015 with attachments
      DEF_01108971
      DEF_01108972-

228   DEF_01103056-         Email from R. Watts to C. Wright re coin-ex, dated June 28, 2015           H; R



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229   DEF_00074670          Email from R. Macgregor to C. Ayre, S. Matthews, C. Wright & R. Watts       H; R
      DEF_00074671-         re Congratulation, dated June 29, 2015
230   DEF_01108620-         Technical services agreement between DeMorgan and DR Technologies           R

231   DEF_00022372-         Email from R. Watts to S. Matthews re Conciliatory words, dated June 30,    H; R; A
                            2015
232   DEF_01103043-         Email from R. Watts to S. Matthews re Ira, dated June 30, 2015              H; R
233   DEFAUS_00714412-      Email from R. Watts to I. Kleiman re more questions, dated June 30, 2015    H; A

234   DEF_01103005-         Email from R. Watts to C. Wright re report for Ira, dated July 1, 2015      H; UP; SPEC
235   DEF_00002142-         Coin-Exch Balance sheet as of June 30, 2014                                 R
236   DEF_01674003 -        Email From R. Watts to I. Kleiman and C. Wright re Coin-Exch reports,       H
                            dated July 3, 2015
237   DEF_01891814-         Email from R. Watts to V. Maroulis re Demorgan emails as requested,         H; UP; R; P;
                            dated July 4, 2015                                                          CHAR; ILO;
                                                                                                        A
238   DEF_01894962-         Email from R. Watts to C. Wright re without prejudice, dated July 4, 2015   H; UP; R; P;
                                                                                                        CHAR; ILO
239   DEF_01896866-         Email from S. Matthews to C. Wright and R. Watts re Latest development,     H; UP; R; P;
                            dated July 5, 2015                                                          CHAR; ILO
240   DEFAUS_01868822       Email from R. Watts to C. Wright re Termination of Engagement, dated        H; R; UP;
      DEFAUS_01868823-      July 6, 2015                                                                CHAR, ILO;
      DEFAUS_01868823       attachment: Letter from A. Sommer to R. Watts re DeMorgan Limited -         P
                            Termination of engagement

241   DEF_00022360-         Email from R. Watts to S. Matthews re Proposal, dated July 8, 2015          H; A
      DEF_00022361
242   DEF_016025800001-     Meeting Minutes of Hotwire                                                  DNI



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243   DEF_01896837-         Email from S. Matthews to R. Watts re W&K questions, dated July 9,            H; R; A; P
                            2015
244   DEFAUS_00654061-      Email from C. Wright to S. Matthews re Questions, dated July 14, 2015         H; CML;
                                                                                                          SPEC; R
245   DEFAUS_00654224       Email between C. Ayre to R. Macgregor, S. Matthews, C. Wright re              H; R; IC
      DEF_00175279-         Project Wintermute, dated July 14, 2015
246   DEF_00022426          Email from S. Savanah to C. Wright, A. Pedersen, R. Watts, and S.             H; R; A
      DEF_00022428          Matthews re Demorgan patent-research, dated July 20, 2015
      DEF_00022432-         ATTACHMENT: DEF_00022428-DeMorgan Patent Schedule,
                            DEF_00022432-Patent Roadmap

247   DEFAUS_00654407-      Email from C. Ayre to C. Wright et al. re interesting times, dated July 23,   H; R
                            2015
248   DEF_01607617          Email from S. Matthews to C. Wright and Ramona Watts re Hotwire,              H; R; P;
      DEF_01607618          dated July 24, 2015, with attachments                                         SPEC; ILO
      DEF_01896721-
249   DEF_01108594-         Email from S. Matthews to R. Watts re relocation, dated August 4, 2015        H; R; A
250   DEF_01108545          Email from S. Matthews to R. Watts re Hotwire IP Deed of Assignment,          H; A
      DEF_01108547-         dated August 10, 2015
251   DEFAUS_00658446-      Email from C. Ayre to C. Wright et al. re Dr Craig, has McAffee been          H; R
                            reading your mind?, dated August 21, 2015
252   DEFAUS_01073764-      Email from C. Ayre to C. Wright et al. re I want to open up…, dated           H; R
                            August 21, 2015
253   DEF_00022417-         Email from C. Wright to I. Kleiman, R. Watts, and S. Matthews re
                            Communication, dated August 26, 2015
254   DEF_01896457          Email from S. Matthews to V. Magnusson re Response to requested               H; A; P;
      DEF_01896458-         details, dated August 26, 2015 with attachment.                               SPEC; ILO




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255   DEFAUS_00553689-      Email from S. Matthews to C. Wright re Communication, dated August       H
                            26, 2015
256   DEF_01613729-         Email from S. Matthews to C. Wright and Ramona Watts re                  H
                            communication, dated August 28, 2015
257   DEFAUS_00716022-                                                                               H
                            Email email from C. Wright to S. Matthews and R. Watts re coin-ex,
                            dated August 28, 2015

258   KLEIMAN_00004269-      Email from C. Wright to I Kleiman re Communicaiton, dated August 28,    H
                            2015
259   DEFAUS_00660269-      Email from S. Matthews to Baker McKenzie re DeMorgan Business            H; A; P; R
                            Service and Management Agreements for DeMorgan Holdings, C01N,
                            CHAOS, Cloudcroft, Coin-Exch, and DASO, dated September 9, 2015

260   DEFAUS_00660397-      Email from C. Wright to R. Watts and S. Matthews re Demorgan patent      H; R
                            schedule, dated September 10, 2015
261   DEF_00069471          Email from R. Watts to S. Matthews re Can further details be provided,   IC; H; R;
      DEF_00477813          dated September 10, 2015                                                 SPEC; IB; A
      DEF_00063233-
      DEF_00069471;
      DEF_00477813
262   DEF_00723790-         Email from C. Wright to A. Pedersen, S. Matthews, R. Watts re Last for   R
                            Today…, dated September 24, 2015
263   DEFAUS_00556490-      Patents Roadmap spreadsheet                                              H; R; A
264   DEFAUS_00662545 -     Email from S. Matthews to C. Ayre and R. Macgregor re Proposal for       H; R; A
                            Creditors of Hotwire, dated September 29, 2015
265   DEFAUS_00662639 -     Email from S. Matthews to R. Watts re RFI #5, dated September 29, 2015   H; A; P

266   DEF_00177798 -        Email from R. Watts re To Do Craig, dated October 7, 2015                H; A



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267   DEF_00022567-         Email from C. Wright re I. Kleiman re Dave's Trust, dated October 8,      H; CML
      DEF_00022567          2015
268   DEF_00022680 -        Email from R. Watts to S. Matthews re Dave's Trust, dated October 8,      H; A
                            2015
269   DEF_01107190 -        Email from C. Wright to R. Watts re Research and Development Claim,       H; R
                            dated October 9, 2015
270   KLEIMAN_00398939-     Email from I. Kleiman to C. Wright re Dave's Trust, dated October 9,      H; CML; UP
                            2015
271   DEFAUS_00667386-      Email from S. Matthews to R. Watts and C. Wright re Dave's Trust, dated   H
                            October 16, 2015
272   DEFAUS_00667408 -     Email from S. Matthews to R. Watts and C. Wright re Dave's Trust, dated   H
                            October 16, 2015
273   DEFAUS_01799244       Email from C. Wright to S. Matthews re Lynn, dated October 19, 2015       H; R; CML;
      DEFAUS_01799245       Attachments: DEFAUS_01799245, DEFAUS_01799246,                            CHAR
      DEFAUS_01799246       DEFAUS_01799247
      DEFAUS_01799247-

274   DEFAUS_00125708 -     Email from C. Wright to A. Pedersen re Proposal White Paper, dated        R
                            October 20, 2015
275   DEFAUS_01876190-      Email from R. Watts to S. Matthews re Baker and Mackenzie IP              H; A; P
                            Questionsn, dated October 20, 2015




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276   DEFAUS_00125725         Email re Cloudcroft Ausindustry response dated October 21, 2015           H; A; R
      DEFAUS_00125728
      DEFAUS_00125729         ATTACHMENTS: DEFAUS_00125728, DEFAUS_00125729,
      DEFAUS_00125736         DEFAUS_00125736, DEFAUS_00125737, DEFAUS_00125745,
      DEFAUS_00125737         DEFAUS_00125746, DEFAUS_00125762, DEFAUS_00125777,
      DEFAUS_00125745         DEFAUS_00125794, DEFAUS_00125808
      DEFAUS_00125746
      DEFAUS_00125762
      DEFAUS_00125777
      DEFAUS_00125794
      DEFAUS_00125808     -



277   DEFAUS_01876379-        Email between S. Matthews and Baker & McKenzie re Cloudcroft Matter       H; R; P; A
                              (Lynn Wright), dated October 21, 2015
278   DEFAUS_00557934 -       Email from R. Watts to C. Ayre et al. re Publication, dated October 27,   H; R
                              2015
279   DEFAUS_00668806         Email from R. Thomas to A. Pedersen et al., re Ausindustry Response       H
      DEFAUS_00668807         Submission: Coin-Exch, dated October 29, 2015
      DEFAUS_00668816         ATTACHMENTS: DEFAUS_00668807, DEFAUS_00668816,
      DEFAUS_00668822         DEFAUS_00668822, DEFAUS_00668836, DEFAUS_00668846,
      DEFAUS_00668836         DEFAUS_00668853, DEFAUS_00668865, DEFAUS_00668869
      DEFAUS_00668846
      DEFAUS_00668853
      DEFAUS_00668865
      DEFAUS_00668869-


280   DEFAUS_00668949 -       Email from Ut Ng to C. Wright, C. Ayre and S. Matthews re Bitcoin         H; R; UP
                              CEO…, dated October 30, 2015




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281   DEFAUS_01878058-      Email from R. Watts to R. Thomas et al, re Demorgan - Tulip Trust Deed,   H; R; P;
                            dated November 4, 2015                                                    CML
282   DEFAUS_01878155-      Email from C. Wright to BLW et al, re Demorgan - Tulip Trust Deed,        H; P
                            dated November 5, 2015
283   DEFAUS_01878644-                                                                                H; P; A; ILO
                            Email from R. Watts to R. Thomas, J. Balazs, re Trust Deed, dated
                            November 10, 2015

284   DEFAUS_00558844-      Patent Master Registry                                                    H; A; R

285   DEFAUS_00671341 -     Email from C. Wright to S. Matthews, R. Watts, and V. Magnusson re        COM
                            coin-ex, dated November 16, 2015
286   DEFAUS_01879703-      Email between S. Matthews and Baker & McKenzie re Coin-Exch Shares,       H; P; COM;
                            dated November 16, 2015                                                   R; A
287   DEFAUS_01879705-      Email from Stefan to Baker Mckenzie re Responses to IP report, dated      H; P; R; A;
                            November 16, 2015                                                         UP
288   DEFAUS_00558953 -     Email from S. Matthews to R. Watts and C. Wright re Ira, dated            H; R
                            Noveember 20, 2015
289   DEFAUS_00671838-      Email from S. Matthews re The List, dated Noember 20, 2015                H; A
290   DEFAUS_00558940-      Email from C. Wright to R. MacGregor, C. Wright, C. Ayre and R. Watts     H; R
      DEFAUS_00558942       re Reporter re: satoshi, dated November 21, 2015
291   DEF_00046800-         Email from C. Wright to R. Watts and S. Matthews re Hey, dated            H; CML;
      DEF_00046801          November 23, 2015                                                         SPEC
292   DEF_00065750          Email from S. Matthews to C. Wright re Hey, dated November 25, 2015       H; SPEC
      DEFAUS_00065750-
      DEF_00065752
293   DEFAUS_00672506 -     Email from S. Matthews to C. Ayre, C. Wright, R. Macgregor, R.            H; R
                            Gillespie re Bakers, dated November 26, 2015



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294   DEFAUS_01074123 -     Email from C. Wright to C. Ayre et al. re Bitcoin, dated November 26,
                            2015
295   DEFHC_01059366-       Minutes of Wright International re Trust Structure                      H; R

296   DEF_01611949-         DeMorgan Group Intellectual Property Ownership Analysis Draft, dated    H; R; A; P;
      DEF_01612168          November 27, 2015                                                       UP
297   DEF_01900721          Email from R. Watts to BLW re Nathan Firth, dated November 27, 2015     H; P; A; UP
      DEF_01900722-
298   DEF_01589197          Email from R. Thomas to C. Wright et al re Following up on GST          H; R; CHAR;
      DEF_01589263-         objections, dated November 30, 2015                                     UP; P; MIL
299   DEF_00022610-         Email from C. Wright to R. MacGregor, S. Matthews and R. Watts re       H
      DEF_00022611          Wired, dated December 2, 2015
300   DEFAUS_01074163-      Email with an Excel spreadsheet (BTC Details.xlsx)                      H; A

301   DEF_00022643 -        Email from C. Ayre to C. Wright, S. Matthews, R. Watts re any news?,    H; R
                            dated December 5, 2015
302   DEF_00022600-         Email from R. Watts to C. Wright re Coin-Exch Reports, dated December   H
                            6, 2015
303   DEF_01113335 -        Email from S. Matthews to R. Watts and C. Wright re Coin-Exch           H; P
                            Shareholders Agreement, dated December 7, 2015
304   DEF_00022658-         Email from C. Wright to R. Watts, R. Macgregor, and S. Matthews re      H; SPEC
                            URGENT FROM GIZMODO…, dated December 8, 2015
305   DEF_00022689;         Email from C. Wright to R. MacGregor, S. Matthews and R. Watts re       IC; CML; H
      DEF_00023315;         Difficult, dated December 8, 2015
      DEF_00023346-
      DEF_00022689;
      DEF_00023315;
      DEF_00023347


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306   2nd Amended Ex. 1          The Satoshi Affair                                                     H; R; UP
      Andresen Dep. Ex. 13
      Nguyen Dep. Ex. 5
      O'Hagan Dep. Ex. 2
      Craig Dep. I Ex. 3-

307   Antonop. Dep. (01.07.20)   A. Antonopoulos Twitter post, dated December 9, 2015                   H; R; UP
      Ex. 27-
308   DEF_01586025 -             Term Sheet re Allocation of IP Proceeds                                H; R; SPEC
309   DEF_01586105               DeMorgan, Chaos, Cloudcroft, CO1N, Daso, DeMorgan Holdings,            H; R; CML;
      DEF_01586110               DeMorgan Limited, Denariuz, Integyrz, Interconnected, Misfit,          A; IC
      DEF_01586116               Panopticrypt, Pholus, Zuhl, Meeting minutes, dated December 18, 2015
      DEF_01586123
      DEF_01586131
      DEF_01586138
      DEF_01586145
      DEF_01586149
      DEF_01586156
      DEF_01586163
      DEF_01586170
      DEF_01586177
      DEF_01586183
      DEF_01586190-



310   DEF_01074208-              IP Assignment Deed for Ncrypt Holdings                                 R

311   DEF_00055237-              Email from C. Wright to Offshore House and Ramona Watts re Tulip       H; R
                                 Trading Limited, dated January 11, 2016




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312   DEF_00038392            Emailfrom A. Pedersen to C. Wright re PatentsProgress Report, dated      H; R
      DEF_00038393-           January 16, 2016, with attachment
313   DEF_01604829-           Email from S. Matthews to C. Wright and R. Watts re legal privilege,     H; R; P; UP
                              dated January 20, 2016
314                           Email from C. Ayre to S. Matthews, R. Watts, R. Macgregor, C. Wright     H; R; UP; IC;
      DEF_01604935-           re Settlement discussion, dated February 2, 2016                         P
      DEF_01604941
315   DEF_01586038-           Novation Agreement substituting nCrypt Holdings for DR Technologies      R
                              Limited
316   GAVIN_00000796-         Email from J. Matonis to G. Andresen re London Arrangements - March      H; R; A
      GAVIN_00000796          23-24 [Confidential], dated March 14, 2016
317   DEF_00172478-           Email from S. Matthews to C. Wright, R. Watts re CSU, dated March 15,    H; R; A; UP;
                              2016                                                                     CHAR
318   DEF_00172528-           Media Training Session 1, dated March 18, 2016                           H; R; A
      DEF_00172555
319   GAVIN_00000024-         EITC Holding Limited Non-Disclosure Agreement executed by G.             H; R; A
      GAVIN_00000026          Andresen, dated March 16, 2016 (signed April 1, 2016)
320   DEF_00055977-           Reasons for Decision from ATO for Integyrz                               H; R; A; UP;
                                                                                                       CHAR; MIL
321   Eggington Dep. Ex. 2-   W. Eggington Consulting Record, dated April 27, 2020                     H

322   DEF_00172510-           Media Training Session Two, dated March 22, 2016                         H; R; A
      DEF_00172526
323   DEF_00023345-           Email from R. Watts to A. O'Hagan re Finding the Context , dated March   H; R; UP; A
                              25, 2016
324   Eggington Dep. Ex. 8-   Court Opinion in Ceglia v. Zuckerberg, dated March 26, 2013              H; A; R




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325   DEF_00023352          Email from R. Watts to A. O'Hagan re Finding the Context , dated March   H; R; A; IC;
      DEF_00023343-         27, 2016                                                                 UP
326   DEF_00052139-         Email from C. Wright to S. Matthews re Coordination, dated March 30,     H; R
      DEF_00052140          2016
327   DEF_00052143-         Email from C. Wright to S. Matthews re Coordination, dated March 30,     H; R
      DEF_00052144          2016
328   DEF_00052146-         Email from R. Watts to S. Matthews re Leaks, dated March 30, 2016        H; R
      DEF_00052146
329   DEF_00052148-         Email from C. Wright to S. Matthews re Leaks, dated March 30, 2016       H; R
      DEF_00052149
330   GAVIN_00001433-       Email from J. Matonis to G. Andresen re London Arrangements, dated       H; R; A
      GAVIN_00001433        March 30, 2016
331   DEF_00023348-         Email from R. Watts to A. O'Hagan re correspondence with Dave K, dated   H; R; A
      DEF_00023348          March 31, 2016
332   DEF_00046835;         Email from C. Wright to A. O'Hagan re Material, dated March 31, 2016     IC; H; R; UP;
      DEF_00051961;                                                                                  MIL; A
      DEF_00057103-
      DEF_00046835;
      DEF_00051973;
      DEF_00057157
333   DEF_00052171 -        Email from R. Macgregor to C. Wright re London, dated March 31, 2016     H; R; UP
334   DEF_00172509-         Email from N. Caley to C. Wright and R. Watts re Media Training Notes,   H; R; A
      DEF_00172509          dated March 31, 2016
335   DEF_01113708 -        Email from R. Watts to A. O'Hagan re correspondence with Dave K, dated   A; H; UP;
                            March 31, 2016                                                           MIL; R;
                                                                                                     CHAR
336   DEF_01113742 -        Attachment to Email from R. Watts to A. O'Hagan re correspondence with   A; H
                            Dave K, dated March 31, 2016
337   DEF_01605109-         Demorgan Meeting Minutes March 2016                                      A; H; P


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338   DEF_01605115-          IP/agreements between DeMOrgan and nCrypt                                  R
339   Kleiman Dep. Ex. 7-    Email from I. Keiman to P. Paige re files, dated March 31, 2016            H

340   DEF_00172557-          Email from R. MacGregor to S. Matthews, C. Wright and R. Watts re FT       H; R
      DEF_00172558           story, dated April 1, 2016
341   GAVIN_00000023-        Email from G. Andresen to S. Matthews re Signed NDA agreement              H; R; A
      GAVIN_00000023         attached, dated April 1, 2016
342   GAVIN_00001286-        Email from G. Andresen to C. Wright re Introduction, dated April 2, 2016   H; R
      GAVIN_00001286
343   GAVIN_00001467-        Email from S. Matthews to G. Andresen re Introduction, dated April 2,      H; R; A
      GAVIN_00001467         2016
344   GAVIN_00000307-        Email from C. Wright to G. Andresen re The state of affairs in a more      R
      GAVIN_00000309         defined manner, dated April 3, 2016
345   GAVIN_00001120-        Email from C. Wright to G. Andresen re Introduction, dated April 3, 2016   H; R
      GAVIN_00001120
346   GAVIN_00001260-        Email from C. Wright to G. Andresen re selfish miner fallacy explanation   R; COM
      GAVIN_00001262         ss v3, dated April 3, 2016
347   DEF_01895818-          Email from S. Matthews to J. Longfellow and R. Watts re IP Transaction     H; A; P
                             and Patent filiing, dated April 4, 2016
348   GAVIN_00001720-        Email from C. Wright to G. Andresen re Some reading for the plane, dated   H; R
      GAVIN_00001721         April 6, 2016
349   Andresen Dep. Ex. 9-   Email from C. Wright to G. Andresen re Some reading for the plane, dated   H; R; NP
                             April 6, 2016
350   DEF_01884997-          Implementation Deed Between DeMorgan, Calay Holdings, Craig Wright         H; R; A
351   GAVIN_00001762-        Email from G. Andresen to R. MacGregor, S. Matthews and C. Wright re       H; R
      GAVIN_00001762         Craig Wright, dated April 12, 2016




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352   DEF_00023291             Email from C. Wright to R. Macgregor re Trustee Letter, dated April 17,    H; R; IC
      DEF_00023293             2016
      DEF_00023302-

353   DEF_00052350 -           Email from R. MacGregor to S. Matthews, C. Wright and R. Watts re          H; R
                               Details, dated April 18, 2016
354   DEF_00722110-            Email from R. MacGregor to R. Watts, J. Longfellow (C. Wright) re BBC,     R; H
      DEF_00722111             dated April 19, 2016
355   GAVIN_00000015-          Email from G. Andresen to S. Matthews re Media, dated April 20, 2016       H; R; A
      GAVIN_00000015
356   GAVIN_00000033-          Email from G. Andresen to S. Matthews re Media, dated April 20, 2016       H; R; A
      GAVIN_00000033
357   DEF_01605124             Email from S. Matthews to R. Watts re Coin-Exch, dated April 21, 2016      H; P; A; IC
      DEF_01605130-
358   DEF_01895897-            Email from S. Matthews to R. Watts re Coin-Exch, dated April 21, 2016      H; A; P; R
359   DEF_00172753-            Dr. Craig Wright - Media Training Supplied by MILK Publicity & The         H; R; A
      DEF_00172802             Outside Organisation, dated April 26, 2016
360   DEF_01587803-            Media Training Packet for Craig Wright                                     H; R; A
361   GAVIN_00001007-          Email from C. Wright to G. Andresen and J. Matonis re And soon to Paris,   R
      GAVIN_00001007           dated April 27, 2016
362   GAVIN_00001521-          Email from S. Matthews to G. Andresen re Introduction, dated April 27,     H; R; A
      GAVIN_00001521           2016
363   GAVIN_00001179-          Email from C. Wright to A. Andresen, J. Matonis, S. Matthews and A.        R; H
      GAVIN_00001179           Pedersen re Debug logs, dated April 29, 2016
364   Andresen Dep. Ex. Dep.   Email from G. Andresen to A. O'Hagan re via Stefan Matthews, dated         H; R; A
      Ex. 10-                  April 29, 2016
365   DEF_00052372-            Email from N. Caley to R. Watts re UPDATED TIMELINE - MONDAY               R; H
      DEF_00052377             02 MAY 2016, dated April 30, 2016


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366   GAVIN_00000005-            Email from S. Matthews to G. Andresen re Hi Gavin, dated May 2, 2016      H; R; A
      GAVIN_00000005
367   GAVIN_00000047-            Email from S. Matthews to G. Andresen re Additional proof, dated May 2,   H; R
      GAVIN_00000047             2016
368   GAVIN_00000161-            Email from C. Wright to S. Matthews re Additional proof, dated May 2,     R; H
      GAVIN_00000161             2016
369   GAVIN_00000371-            Email from C. Wright to G. Andresen re What's with the funky proof?,      R; H
      GAVIN_00000371             dated May 2, 2016
370   Andresen Dep. Ex. 69-      Document from G. Andresen titled "Satoshi", dated May 2, 2016             H; R; A

371   Antonop. Dep. (01.07.20)   Sam Biddle and A. Cush, "This Australian Says He and His Dead Friend      H; A
      Ex. 26-                    Invented Bitcoin, Gizmodo," dated May 2, 2016
372   Antonop. Dep. (01.07.20)   A. Antonopoulos Twitter post, dated May 2, 2016 "My faith in bitcoin is   H; R
      Ex. 29-                    unchanged from yesterday"
373   DEF_00052436-              Email from C. Wright to R. McGregor, S. Matthews, and R. Watts re PGP     H; R; UP
                                 Key, dated May 3, 2016
374   DEF_00052460 -             Email from R. Macgregor to S. Matthews, C. Wright and R. Watts re this    H; R; UP
                                 morning, dated May 3, 2016
375   DEF_00172916 -             Email from R. Macgregor to S. Matthews, C. Wright and R. Watts re this    H; R; UP
                                 morning, dated May 3, 2016
376   GAVIN_00000004-            Email from G. Andresen to S. Matthews re moving bitcoin, dated May 3,     H; R; A
      GAVIN_00000004             2016
377   GAVIN_00000018-            Email from S. Matthews to G. Andresen and C. Wright re Additional         H; R
      GAVIN_00000018             proof, dated May 3, 2016
378   GAVIN_00000357-            Email from U. Nguyen to G. Andresen re I am Uyen - trustee of SN trust,   H; A
      GAVIN_00000358             dated May 3, 2016




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379   GAVIN_00000893-            Email from M. Nobuyuki to G. Andresen to J. San, I. G., M. Hardy, J.       H; A
      GAVIN_00000893             VaughnPerling and G. Andresen re I am Uyen - trust of SN trust, dated
                                 May 3, 2016

380   Andresen Dep. Ex. 28-      Email from C. Wright to G. Andresen re What's with the funky proof?,       H; R
                                 dated May 3, 2016
381   DEF_00046731-              Email from R. Macgregor to S. Matthews, C. Wright and R. Watts re Hal,     H
                                 dated May 4, 2016
382   DEF_00181691 -             Email from R. Watts re Rob, dated May 4, 2016                              H; A; R; UP
383   GAVIN_00000622-            Email from M. Nobuyuki to G. Andresen re I am Uyen - trust of SN trust,    H; A
      GAVIN_00000623             dated May 4, 2016
384   GAVIN_00000683-            Email from R. MacGregor to J. Matonis and G. Andresen re Draft Blog,       H; R; A
      GAVIN_00000684             dated May 4, 2016
385   GAVIN_00000769-            Email from R. MacGregor to G. Andresen re Draft Blog, dated May 4,         H; R; UP; A
      GAVIN_00000770             2016
386   GAVIN_00001206-            Email from R. Macgregor to J. Matonis re Draft Blog, dated May 4, 2016     H; R; A; UP
      GAVIN_00001207
387   GAVIN_00001334-            Email from A. Andresen to M. Nobuyuki re I am Uyen - trustee of SN         H; A
      GAVIN_00001335             trust, dated May 4, 2016
388   GAVIN_00001075-            Email from G. Andresen to C. Wright re Please, take time for yourself,     H; R
      GAVIN_00001075             and let others help take care of you, dated May 5, 2016
389   Andresen Dep. Ex. 41-      Email from S. Matthews to G. Andresen re just in case, dated May 5, 2016   H; R; A

390   Antonop. Dep. (01.07.20)   A. Antonopoulos Twitter post, dated May 2, 2016 "Avoid schadenfreude.      H; R
      Ex. 30-                    Con artists can fool even the smartest people. What happened to Gavin
                                 and Jon could happen to anyone."

391   NGUYEN000229-              Email from J. Nguyen to R. MacGregor re 3,2,1 … dated May 5, 2016          H; R; A
      NGUYEN 000229


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392   GAVIN_00000041-         Email from C. Wright to G. Andresen re My apologies, dated May 7, 2016    R; UP
      GAVIN_00000042
393   GAVIN_00001821-         Email from I. Kleiman to G. Andresen re I. Kleiman, dated May 8, 2016     H; R
      GAVIN_00001821
394   Eggington Dep. Ex. 9-   Defendants' Motion to Exclude Expert Testimony of G. McMenamin in         H; R
                              Dutcher v. Bold Films LP, dated April 6, 2018
395   GAVIN_00001759-         Email from I. Kleiman to G. Andresen re Proof, dated May 11, 2016         H; CHAR;
      GAVIN_00001760                                                                                    ILO
396   Eggington Dep. Ex. 3-   Expert Engagement Letter from Z. Kass to W. Eggington, dated April 13,    H
                              2020
397   DEF_00177749-           Email with Demorgan meeting minutes dated May 17, 2016                  H; R; A
398   DEF_01074241-           C. Wright Power of Attorney appointing nCrypt Limited, dated August 22, R
      DEF_01074243            2016
399   Eggington Dep. Ex. 6-   Expert Report of R. Leonard, dated April 10, 2020                         H

400   NGUYEN001586-           Contracted Services Agreement Term Sheet between J. Nguyen and EITC       H; R
      NGUYEN 001597           Holdings Ltd. Dated September 1, 2016
401   GAVIN_00001512-         Email from C. Wright to G. Andresen re Thank you, dated November 17,      R
      GAVIN_00001512          2016
402   NGUYEN000642-           Email from S. Matthews to J. Nguyen re PR Firm Engagement Letter,         H; R; A
      NGUYEN 000642           dated December 27, 2016
403   NGUYEN001404-           Email from J. Nguyen to J. Diaferia re nChain Holdings Limited, dated     H; R; COM
      NGUYEN 001405           January 23, 2017
404   NGUYEN000004-           Email from A. Davis to J. Nguyen and S. Matthews re confidential, dated   H; R; A;
      NGUYEN 000004           February 14, 2017                                                         COM
405   GAVIN_00000344-         Email from C. Wright to G. Andresen re Finalisation of Comprehensive      H; R
      GAVIN_00000345          Risk Review [DLM=Sensitive], dated May 3, 2017



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406   GAVIN_00000732-            Email from C. Wright to G. Andresen re Trolls, dated May 3, 2017          H; R
      GAVIN_00000732
407   GAVIN_00000869-            Email from G. Andresen to C. Wright re Finalisation of Comprehensive      H; R
      GAVIN_00000870             Risk Review [DLM=Sensitive], dated May 3, 2017
408   GAVIN_00001274-            Email from C. Wright to G. Andresen re Trolls, dated May 3, 2017          H; R
      GAVIN_00001274
409   GAVIN_00001439-            Email from G. Andresen to C. Wright re Finalisation of Comprehensive      H; R
      GAVIN_00001439             Risk Review [DLM=Sensitive], dated May 3, 2017
410   GAVIN_00001482-            Email from C. Wright to G. Andresen tr Finalisation of Comprehensive      H; R
      GAVIN_00001482             Risk Review, dated May 3, 2020
411   GAVIN_00001974-            Email from C. Wright to G. Andresen re A year ago, dated May 5, 2016      R; UP
      GAVIN_00001974
412   KLEIMAN_00004288-          Email from C. Wright to I. Kleiman re scronty, dated May 10, 2017         A; H
      KLEIMAN_00004288
413   Antonop. Dep. (01.07.20)   A. Antonopoulos Twitter posts re disagreeing with C. Wright about         H; R
      Ex. 24-                    Segwit, dated June 19, 2017
414   Antonop. Dep. (01.07.20)   A. Antonopoulos Twitter posts re disagreeing with C. Wright about         H; R
      Ex. 25-                    Segwit, dated June 19, 2017
415   DEFHC_01518378-            Trust Agreement for the Tulip Trust, dated July 6, 2017                   H; R; CHAR
      DEFHC_01518407
416   GAVIN_00000276-            Code exchanged with Satoshi (See Andresen Tr. 202:25, 203:1)              H; A
      GAVIN_00000293
417   KLEIMAN_00385767-          Email from I. Kleiman to C. Wright re scronty, dated September 29, 2017   A; H; UP
      KLEIMAN_00385768
418   Antonop. Dep. (01.07.20)   Twitter exchange between R. Ver and A. Antonopoulos, dated December       H; R
      Ex. 8-                     5, 2017




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419   Antonop. Dep. (01.07.20)   A. Antonopoulos on Patreon, "In defense of optimism," dated December 6, H; R
      Ex. 15-                    2017
420   Kleiman Dep. Ex. 14-       Email from A. Ojea to I. Kleiman re David, dated December 7, 2017        H; R; NP; UP

421   Antonop. Dep. (01.07.20)   Lucind Shen, "Why People Are Giving This Man Almost $2 Million in        H; R
      Ex. 10-                    Free Bitcoin," Fortune, dated December 8, 2017
422   Andresen Dep. Ex. 71-      Document from G. Andresen titled "Not as rich as you think", dated
                                 February 14, 2018
423   Antonop. Dep. (01.07.20)   Twitter Response to Karma Machine from A. Antonopoulos, dated            H; R
      Ex. 23-                    February 17, 2018
424   2nd Amended Ex. 21-        Letter from S. Harris from the U.S. Department of Homeland Security to   H; IC; COM
                                 K. Roche re 2018-STFO-00106, dated March 22, 2018
425   2nd Amended Ex. 29-        Declaration of C. Wright, dated April 15, 2018                           R; CHAR

426   Antonop. Dep. (01.07.20)   A. Antonopoulos Twitter response to HodlrDotRocks, dated May 24, 2018    H; R; UP
      Ex. 31-
427   Craig Dep. I Ex. 9-        Declaration of C. Wright, dated June 14, 2018                            R; CHAR

428   2nd Amended Ex. 33-        Civil Theft Demand Letter from V. Freedman to Andres Rivero, Esq.         H; R
429   Andresen Dep. Ex. 42-      Email from C. Wright to R. Ver and G. Andresen re :), dated July 17, 2018 R

430   Antonop. Dep. (01.07.20)   A. Antonopoulos Twitter posts re Faketoshi, dated November 16, 2018      H; R; UP
      Ex. 32-
431   Antonop. Dep. (01.07.20)   Mark Emem, "Shots Fired: Craig Wright Calls Bitcoin Evangelist Andreas   H; R
      Ex. 33-                    Antonopoulos 'Sh*tcoin Expert," CNN, dated January 4, 2019
432   Craig Dep. IV Ex.          Twitter post from C. Wright to VeryVeriViral re "Neither of us mined     H
      Tag 2-                     after 2011 (only just starting again in 2018)," dated January 15, 2019


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433   Pl. Opp. MSJ Ex. 34-       Craig, Wright, The story of Bitcoin, continued, dated February 9, 2019       R

434   Pl. Opp. MSJ Ex. 14        The Bad Crypto Podcast - "Is Craig Wright the Real Satoshi?" dated           H; R; A
      Craig Dep. III Ex. Z10-    February 20, 2019
435   Eisner Dep. Ex. 14-        Florida Division of Corporations - W&K Entity Seach Results

436   Warren Dep. Ex. P1-        Stipulated Confidentiality Order signed by J. Warren, dated July 24, 2019    R

437   Nguyen Dep. Ex. 9-         Finance Magnates Interview - Jimmy Nguyen: Bitcoin SV is Bigger than         H; A; UP; R
                                 Craig Wright. The former CEO of nChain discusses the BSV ecosystem
                                 and the effects of the media attention on Craig Wright, dated September 4,
                                 2019

438   Pl. Opp. MSJ Ex. 15-       Declaration of Brendan J. Sullivan in Support of Non-Party Brendan J.        H; UP
                                 Sullivan's Motion to Quash, dated September 9, 2019
439   Craig Dep. III Ex. Z10     Craig S. Wright, Satoshi's Vision: The Art Bitcoin (2019)                    H; R; DNI
      Pl. Opp. MSJ Ex. 10-
440   Antonop. Dep. (01.07.20)   David Stancel, "Coin Perspective #1: Andeas Antonopolous, Bitcoin is         H; BOL
      Ex. 20-                    more resilent than I thought!" Medium, dated October 8, 2019
441   O'Hagan Dep. Ex. 1-        Witness Statement of A. O'Hagan, dated November 22, 2019                     H; R; BOL

442   Antonop. Dep. (01.07.20)   A. Antonopoulos Amended Subpoena to Testify and Request for                  R
      Ex. 1-                     Documents, dated January 2, 2020
443   Klin Dep. Ex. 1-           Engagement Letter from Z. Kass ro A. Klin, dated April 6, 2020               H; R

444   Klin Dep. Ex. 2-           Invoice from A. Klin to Z. Kass and M. Hall, dated April 13, 2020            H; R




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445   Antonop. Dep. (01.07.20)   A. Antonopoulos Twitter posts, dated January 4, 2020                    H; R
      Ex. 21-
446   Craig Dep. IV Ex.          Craig Wright's Notice of Compliance with Court's January 10, 2020 Order, R
      Document Entry 376-        dated January 14, 2020
447   Pl. Opp. MSJ Ex. 29-       Craig Wright, Looking the other way, dated January 17, 2020             R

448   Edman Dep. Ex. 4-          Edman's Relativity Documents dated February 3, 2020 (See Edman Tr.      H; A; R
                                 40:15)
449   Edman Dep. Ex. 5-          Provided Metadata (See Edman Tr. 44:8)

450   Edman Dep. Ex. 6-          Hash Values (See Edman Tr. 47:11)                                       H; UP

451   Leonard Dep. Ex. G-        Email from A. Brenner to N. Dagley re Deposition of Robert Leonard,     H; R
                                 dated April 24, 2020
452   DEF_00000204-              Bitmessages from D. Kleiman to C. Wright re The trust process, dated    H; R; A;
      DEF_00000205               2012                                                                    CHAR; IB
453   Antonop. Dep. (01.07.20)   I am Andreas M. Antonopoulos, Author of "Mastering Bitcoin"- Ask Me     H; BOL
      Ex. 13-                    Almost Anything! (IamAMA AMB AMAA!)
454   Antonop. Dep. (01.07.20)   Conversation on Reddit
      Ex. 14-
455   DEFAUS_00112094-           Discretionary Trust Deed Template between C. Wright, W&K and            H; R; A
      DEFAUS_00112106            Panopticrypt Pty Ltd, dated 2019
456   Nguyen Dep. Ex. 12-        J. Nguyen Interview with SFOX - The Future of Bitcoin, January 2019     H; R; A

457   NGUYEN000875-              Baker & McKenzie - EITC Holding Ltd. - IP valuation analysis, dated     A; H; R;
      NGUYEN 000891              October 2016                                                            SPEC; UP




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458   Craig Dep. IV Ex.     C. Wright Facebook Timeline - "I stopped mining in 2012. I leave that for   H; R; A
      Tag 1-                others now," dated December 2014
459   DEF_01667372-         Emails between C. Wright and M. Ferrier, dated February 2013                H; R; A
      DEF_01667372
460   Nguyen Dep. Ex. 13-   J. Nguyen Interview with Bitstocks Media, March 2019                        H; R

461   Nguyen Dep. Ex. 3-    J. Nguyen Interview with Coin Geek in April 2019                            H; R; A

462   DEF_01597500-         Statement of a Witness in Police v. Ferris, dated July 2014                 H; R; A;
      DEF_01597514                                                                                      CML
463   KIMON_00000024-       Chat conversations between K. Andreou and D. Kleiman, dated July 2,         H; R; UP
      KIMON_00000200        2009 through April 18, 2013
464   DEF_01597543-         Statement of a Witness in Police v. Ferris, dated July 2014                 H; R; A
      DEF_01597557
465   DEF_00009669-         W&K - Homeland Security BAA Program Registration Form
      DEF_00009671
466   DEF_00013147-         Bitmessage with handwritten note "This shows Dave Kleiman is mapped         H; R; A
      DEF_00013147          to the above bitmessage address"
467   DEF_00013784-         Hotwire PE WKID Cost Estimation                                             H; R; SPEC;
      DEF_00013793                                                                                      ILO; CML
468   DEF_00022425-         Spreadsheet titled "Shareholders"                                           H; A
469   DEF_00073807-         Baker & McKenzie - IP Assignment Deed for Ncrypt Holdings Ltd,              R
      DEF_00073943          DeMorgan Limited, DeMorgan Holdings Pty. Ltd., Misfit Games Pty.
                            Ltd., Panopticrypt Pty Ltd, Coin-Exch Pty. Ltd., Integyrz Pty Ltd, Pholus
                            Pty. Ltd., Cloudcroft Pty. Ltd., Chaos and Nonlinear Forecasting in
                            Economics and Finance Pty. Ltd., CO1N Pty Ltd, Denariuz Pty. Ltd.,
                            Interconnected Research Pty. Ltd., Zuhl Pty. Ltd. and Daso Pty. Ltd.




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470   DEF_00074671-              Summary of Agreed Terms                                                   H; R
      DEF_00074673
471   DEF_01590093-              Letter from D. Rockwell to A. Sommer re integrating the SGI and           H; R; A
      DEF_01590094               SuperMicro systems into a single interconnect requested by C. Wright
472   DEF_01839995-              C. Wright - BitCoin: SEIR-C propagation models of block and transaction
      DEF_01840021               dissemination
473   DEF_01885032-              Baker & McKenzie - IP Assignment Deed for W&K and Ncrypt Holdings         H; A
      DEF_01885045               Ltd (not signed by WK)
474   GAVIN_00000381-            Code exchanged with Satoshi (See Andresen Tr. 205:19-20). Attachment      H; R; A
      GAVIN_00000383             to Ex. 50 email.
475   Nicholson Dep. I Ex. 2-    Invoice from W. Nicholson to A. Rivero, dated January 6, 2020             H; R

476   Nicholson Dep. I Ex. 3-    Engagement Letter from W. Nicholson to A. Rivero, dated January 9,        H; R
                                 2020
477   GAVIN_00002007-            Reddit private message exchange between user etmetm and G. Andresen       H; R; A
      GAVIN_00002012
478   KIMON_00009284-            D. Kleiman CV                                                             H
      KIMON_00009286
479   Antonop. Dep. (01.07.20)   A. Antonopoulos Bitcoin address                                           H; R
      Ex. 11-
480   Antonop. Dep. (01.07.20)   Chart that shows outflows from Bitcoin address                            H; R
      Ex. 12-
481   Antonop. Dep. (01.07.20)   A. Antonopoulos' Donation Page on website                                 H; R
      Ex. 16-
482   Nicholson Dep. II Ex. 1-   Invoice from W. Nicholson to A. Rivero, dated February 10, 2020           H; R
483   Antonop. Dep. (01.07.20)   Conversation on Reddit
      Ex. 17-



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484   Antonop. Dep. (01.07.20)   Extended Bio - Andreas M. Antonopolous                                    H; BOL
      Ex. 18-
485   Antonop. Dep. (01.07.20)   A. Antonopoulos Twitter posts                                             H; R; BOL
      Ex. 22-
486   Antonop. Dep. (01.07.20)   A. Antonopolous CV                                                        H; BOL
      Ex. 7-
487   Antonop. Dep. (01.07.20)   Conversation on Reddit                                                    H; R; BOL
      Ex. 9-
488   Craig Dep. IV Ex.          C. Wright Post "Andrew Carnegie said 'earn as much as possible, give as
      Tag 3-                     much as possible."'
489   Edman Dep. Ex. 9-          Zip file (See Edman Tr. 102:2)                                            H; R; A; IC;
                                                                                                           UP
490   Leonard Dep. Ex. F-        International Association of Forensic Linguists Code of Practice          H

491   Leonard Dep. Ex. H-        Excel spreadsheet of everything received (See Leonard Tr. 127:19)

492   Nguyen Dep. Ex. 14-        J. Nguyen Interview with V. Everts                                        H; R
493   Nguyen Dep. Ex. 15-        J. Nguyen Interview with nChain                                           H; R

494   Nguyen Dep. Ex. 18-        J. Nguyen Interview with Trader Cobb                                      H; R; A

495   Nguyen Dep. Ex. 1-         J. Nguyen LinkedIn Profile Page                                           H; R; A

496   Radvanovsky Dep. Ex. 1-    R. Radvanovsky LinkedIn Profile Page                                      H; R

497   Radvanovsky Dep. Ex. 2-    Document titled "Robert Radvanovsky's Books"                              H; R



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498   Wilson Dep. Ex. 19-    J. Wilson's Business Card                                     H; R; A
499   Wilson Dep. Ex. 21-    J. Wilson LinkedIn Profile Page                               H; R; A

500   DEF_00001114-          Coin-Exch Transfer of Shares                                  IB

501   DEF_00023314 -         Screenshot                                                    H; A; UP;
                                                                                           CML
502   DEF_00054640_004-      WFT Holding Map                                               DNI
503   DEF_016068560005-      Baker & McKenzie - RFI List                                   DNI

504   DEF_01904755-          Word Document                                                 H; R; UP;
                                                                                           BER
505   DEFAUS_00556318.0001- Spreadsheet                                                    DNI

506   DEFAUS_01073503-       Statement of Claims filed in New South Wales Supreme Court    A; H

507   DEFAUS_01761490-       WFT Holding Map                                               H; R; A;
                                                                                           CML
508   DEFHC_01921475-        Presentation prepared for ATO                                 H; R; A; UP
509   MSJ Ex. 6-             Transcript of Australian proceedings                          H; A; R

510   Nguyen Dep. Ex. 2-     J. Nguyen Interview with Cryotofinder                         H; R

511   Nguyen Dep. Ex. 20-    C. Wright and J. Nguyen Presentation Speech at Oxford Union   H; R

512   Nguyen Dep. Ex. 21-    C. Wright and J. Nguyen Interview on Coin Geek Channel        H; R



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513   Nguyen Dep. Ex. 22-   Investing in Bitcoin SV? Understand nChain first! Patents, Craig Wright,   H; R
                            & Metanet explained
514   DEF_00013189 -        Email from D. Kleiman to C. Wright re Requested attached, dated June       H; A; CHAR
                            24, 2011
515   Show Cause Ex. 3-     DEF_00013189 Metadata                                                      H; A

516   Show Cause Ex. 4-     DEF_00013189 Metadata                                                      H; A

517   Show Cause Ex. 5-     Calendar                                                                   H; A; R;
                                                                                                       DEM
518   DEF_00013459-         Email from D. Kleiman to C. Wright re Requested attached, dated October    H; A; CHAR
                            17, 2014
519   Show Cause Ex. 7-     DEF_00013459 Metadata                                                      H; A

520   Show Cause Ex. 8-     DEF_00013459 Metadata                                                      H; A

521   Show Cause Ex. 10-    DEF_00050985 Metadata (Tulip Trust Deed)                                   H; A

522   DEF_00058790-         Email from C. Wright to D. Mayaka re Aged Shelf Company, dated             H; IB
                            October 17, 2014
523   DEF_00046670-         Transfer Receipt                                                           H; R; A

524   DEF_00046664-         Abacus Invoice                                                             H; R; A;
                                                                                                       COM
525   DEF_00058811-         Email from D. Mayaka to C. Wright re Tulip Trading, dated October 20,      H; IB
                            2014




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526   DEF_00000360-         Trust Documents                                                          H; A; R; IB

527   DEF_00069775-         Agreement between C. Wright and Equator, dated April 28, 2016            H; A; R

528   Show Cause Ex. 20-    Search results for '0x4ff1cfebc941fe6d'                                  H; R: A
529   DEF_00000195-         Blog Post re Liberty Payment (2)                                         H; A; IB

530   DEF_00050990-         Discretionary Trust Deed Template between C. Wright, Tulip Trading and   H
                            Panopticrypt Pty Ltd, dated October 24, 2012
531   DEF_00013755-         Wright International Investments Meeting Minutes, dated December 19,     H; R; UP
                            2014
532   Show Cause Ex. 24-    Edman CV                                                                 H; BOL
533   Show Cause Ex. 25-    GEOIP2 Precision Lookup Form                                             H; A; R

534   Show Cause Ex. 26-    How to Determine Outlook Version Information                             H; A; R

535   Show Cause Ex. 27-    DEF_00013459 Metadata                                                    H; A

536   Show Cause Ex. 28-    DEF_00013459 Metadata                                                    H; A

537   Show Cause Ex. 29-    DEF_00013459 Metadata                                                    H; A

538   DEF_00079344-         Email from D. Kleiman to C. Wright re Requested attached, dated June     H; A; COM;
                            24, 2011                                                                 IB
539   Show Cause Ex. 31-    DEF_00079344 Metadata                                                    H; A




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540   DEF_00013188-         Email from D. Kleiman to C. Wright re Requested attached, dated April 2,   H; A
                            2013
541   Show Cause Ex. 33-    DEF_00013188 Metadata                                                      H; A

542   Show Cause Ex. 34-    DEF_00013188 Metadata                                                      H; A
543   Show Cause Ex. 35-    DEF_00050985 Metadata                                                      H; A

544   Show Cause Ex. 36-    DEF_00050985 Metadata                                                      H; A

545   Show Cause Ex. 37-    DEF_00050985 Metadata                                                      H; A

546   DEF_00027291-         Email from D. Kleiman to C. Wright re Divorce, dated September 7, 2012     H; A

547   Show Cause Ex. 39-    DEF_00027291 Metadata                                                      H; A

548   Show Cause Ex. 40-    DEF_00027291 Metadata                                                      H; A
549   Show Cause Ex. 41-    GnUPG.org                                                                  H; A; R

550   Show Cause Ex. 43-    DEF_00028008 Metadata                                                      H; A

551   Show Cause Ex. 44-    0b67f9…..                                                                  H; A

552   DEF_00000465-         Email from C. Wright to I. Kleiman re Questions, dated April 24, 2014      H; A; CML
553   Sanctions Ex. 1-      Divorce Application                                                        H; R; A

554   DEF_01586024-         CSW Filed List                                                             H; A; R



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555   Sanctions Ex. 15-       JBruk Ltd Companies House Listing                                          H; R; A

556   Resp. to MJOP Ex. 2-    Limited Liability Company Annual Report Help                               H; R; A

557   Resp. to MJOP Ex. 3-    Florida Division of Corporations - Title Abbreviations                     H; A; R

558   Resp. to MJOP Ex. 4-    CCN.Com Article re Craig Wright Allegedly Submits Fake Email in            H; A; R; UP;
                              Lawsuit                                                                    ILO; CHAR
559   Resp. to MJOP Ex. 5-    Reddit Post re The Fraud Continues, dated April 17, 2019                   H; A; R; UP;
                                                                                                         ILO; CHAR
560   Resp. to MJOP Ex. 6-    Chepicap.com Article re Did Craig Wright just submit a faked email as      H; A; R; UP;
                              evidence for his lawsuit?                                                  CHAR; ILO
561   Resp. to MJOP Ex. 7-    "Faketoshi Craig Wright Presents Provably Fake Documents in Kleiman        H; A; R; UP;
                              Case"                                                                      CHAR; ILO
562   Resp. to MJOP Ex. 8-    Dr. Funkenstein6 Tweet                                                     H; A; R; UP;
                                                                                                         CHAR; ILO
563   Resp. to MJOP Ex. 10-   Email from C. Wright to C. Wright re Appointment Letter, dated April 16,   H; A
                              2014
564   DEF_00004796-           Email from I. Kleiman to U. Ng re Dave K, dated February 16, 2014          H; R

565   SMJ Sur-Reply Ex. 1     C01N Penalty and Interest Position Paper, dated March 11, 2016             H; R; A; UP;
                                                                                                         BER; MIL
566   SMJ Sur-Reply Ex. 2     2015 Florida LLC Annual Report for W&K
567   DEF_00030089-           Email from U. Ng to R. Watts re ATO request, dated June 23, 2015           H; R

568   SMJ Sur-Reply Ex. 4     Bitcoin.com Article re Uyen Nguyen, dated April 6, 2019                    H; A



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569   DEF_00045270-         Coin-Exch Meeting Minutes                                                R; A

570   DEFAUS_00105469-      Email from C. Wright to M. Halloran dated June 27, 2013                  H; R; COM

571   DEFAUS_00105471-      Private Ruling Application

572   DEFAUS_00111382-      Email from J. Chesher to D. Mcmaster re Our Meeting Monday               H; R
573   DEFAUS_00112514-      Email from J. Chesher to A. Sommer re Audit Interview                    H; R

574   DEFAUS_00112548-      GST Calculation Worksheet for Craig Wright R&D                           H; R; SPEC

575   DEFAUS_00112964-      Email from C. Wright to P. Paige re Difficult, dated February 17, 2014   H

576   DEFAUS_00112977-      Email from C. Wright to P. Paige re Difficult, dated February 17, 2014   H

577   DEFAUS_00113710-      GST Audit Report                                                         H; R; A

578   DEFAUS_00115579-      Email from C. Wright to I. Kleiman re FW: 32 Wipe Fallacy                H
579   DEFAUS_00553245-      Email from C. Wrigh to U. Nguyen re Response                             H

580   DEFAUS_00553266-      Email from C. Wrigh to U. Nguyen re Final                                H

581   DEFAUS_01565345-      Email from A. Sommer re Coin-Exch Interim Report                         H; R; P; UP;
                                                                                                     MIL
582   DEFAUS_01754192-      Letter to A. Miller dated May 9, 2014                                    H; A; UP;
                                                                                                     SPEC; MIL




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583   DEFAUS_01765303-      Email from R. Watts re Missing Pages                                        H; R; CML

584   DEFAUS_01765305-      Response to ATO Letter                                                      H; R; A

585   DEFAUS_01769394-      Strasan Development Agreement                                               H; A; CML

586   DEFAUS_01769410-      Email from C. Wright to R. Watts re Hotwire                                 H; R; CML

587   DEF_00000355-         Uyen Nguyen Consent to Act                                                  H; A; CML;
                                                                                                        IB
588   DEF_00001745-         Statement of Claims filed in New South Wales Supreme Court                  H; R; A; IB
589   DEF_00002135-         Coin-Exch Completion of Audit                                               H; A; UP;
                                                                                                        MIL
590   DEF_00022689-         Email from C. Wright to C. Ayre re Difficult, dated December 8, 2015

591   DEF_00028003-         Email from C. Wright to C. Wright re IFIP…, dated March 1, 2014             H; R; A

592   DEF_00031275-         Email from C. Wright to M. Italia re Email 1 re Notification of audit ABN   H; R; A
                            48 164 068 348, dated October 6, 2013
593   DEF_00031276-         Hotwire Tax Invoice                                                         H; A; R

594   DEF_00031297-         Hotwire GST Calculation Worksheet                                           H; R; A

595   DEF_00031308-         Letter to C. Wright re Private Ruling                                       H; R; A

596   DEF_00040537-         Email from A. Pedersen to C. Wright and R. Watts re: DeMorgan               H; R
                            Information Pack, dated May 22, 2015


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597   DEF_00040538-         Demorgan Information Pack                                              H; R

598   DEF_00046094-         Screenshot of Wallet                                                   H
599   DEF_00046095-         Screenshot of XE.com                                                   H; R; A

600   DEF_00046097-         Screenshot of XE.com                                                   H; R; A

601   DEF_00051769-         Record of Client Contact                                               H; R; A;
                                                                                                   MIL; BER;
                                                                                                   UP
602   DEF_00051992-         Letter from C. Wright to U. Nguyen dated June 27 2014                  H; R; CML
603   DEF_00052366-         Email from C. Wright to V. Brooks dated April 29, 2016                 H; R

604   DEF_00053896-         Audit Position Paper                                                   H; R; UP;
                                                                                                   CHAR; MIL
605   DEF_00053949-         Audit Position Paper                                                   H; R; UP;
                                                                                                   CHAR;
                                                                                                   CML; MIL
606   DEF_00055247-         Search Warrant                                                         H; R; UP:
                                                                                                   CHAR
607   DEF_00055764-         Reasons for Decision from ATO for Zuhl, dated April 12, 2016           H; A; R;
                                                                                                   MIL; CHAR;
                                                                                                   UP
608   DEF_00062743-         Email from U. Ng to A. Synnott re ATO request, dated August 14, 2015   H; A; R; IB
609   DEF_00066421-         Notice of Objection re Denariuz, dated October 29, 2014                H; R

610   DEF_00070043-         ATO Interview Transcript                                               H; R; A; UP;
                                                                                                   BER; MIL



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611   DEF_00172559-         Email from S. Matthews to C. Wright re INVENTOR OF BITCOIN…,            H; R
                            dated April 21, 2016
612   DEF_00233242-         Screenshot of Bill Private Ruling                                       H; R; A
613   DEF_00247440-         Bitmessage Settings                                                     H; A

614   DEF_01099222-         Cloudcroft GST Calculation Worksheet                                    H; R; A

615   DEF_01105236-         Email from C. Wright to A. Sommer re Invoice dated May 27, 2015         H; R; P

616   DEF_01587998-         Email from Highsecured to A. Sommer re Contract Verification, dated     H; R; A; P
                            May 25, 2015
617   DEF_01588025-         Email from R. De Gracia to A. Sommer re Invoice, dated May 27, 2015     H; R; A; P;
                                                                                                    CML
618   DEF_01589197-         Email from R. Thomas to C. Wright et al re Following up on GST          H; R; CML;
                            objections, dated November 30, 2015                                     P; UP;
                                                                                                    CHAR; MIL
619   DEF_01589263-         Annexure A - Taxpayer Resopnse                                          H; R; CML;
                                                                                                    P; UP;
                                                                                                    CHAR; MIL
620   DEF_01590525-         Description of Transactions                                             H; R; P

621   DEF_01597484-         Email from C. Wright to J. Chesher, A. McCaughan, J. Slater and N.      H; R; A
                            Mavrakis re Beer and congrats, dated February 3, 2014
622   DEF_01597542-         Email from C. Wright to K. Unger re Statement, dated September 22,      H; R; UP
                            2014
623   DEF_01608944-         Email from R. De Gracia to A. Sommer re email contact dated April 28,   H; R; UP; P;
                            2015                                                                    CML; CHAR




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624   DEF_01631092-         Demorgan Limited Tax Invoice                                          H; R; P

625   DEF_01667258-         Email from C. Wright to K. Unger re Statement, dated September 22,    H; R; A
                            2014
626   DEF_01667275-         Bitcoin Tax Implications                                              H; R; A

627   DEF_01667306-         How Bitcoin Protocol Actually Works                                   H; R; A

628   DEF_01667371-         Screenshot of Mark Ferrier Bitmesage                                  H; R
629   KLEIMAN_00006307-

630   KLEIMAN_00278248-                                                                           H

631   DEF_00004407-         Email from S. Matthews to C. Wright and R. Watts re Coin-ex, dated    H; CML
                            August 28, 2015
632   DEF_00004408-         PGP Screenshot                                                        H; R; UP;
                                                                                                  COM; BER
633   DEF_00027398-         Screenshot of Wallet                                                  H; UP; CML

634   DEF_00031142-         Hotwire PE WKID Cost Estimation                                       H; R; SPEC;
                                                                                                  ILO; CML
635   DEF_00056469-         Demorgan Investor Pack                                                H; R

636   DEF_00065750-         Email from S. Matthews to C. Wright re Hey, dated November 25, 2015   H; SPEC

637   DEF_00067254-         Preliminary GAAR Panel Submission, dated August 29, 2014              H; R; A; UP;
                                                                                                  MIL; CHAR


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638   DEF_00717983-         IP License between Cloudcroft and GISCR, dated August 22, 2013            H; R; A
639   DEF_00727184-         Email from T. Lodhi to R. Watts re BTC documentation Update, dated        H; A; CML
                            December 4, 2015
640   DEF_00796229-         Email from C. Wright to D. Kobza re Resignation                           H; R

641   DEF_01097000-         Email from C. Wright to R. Watts re Hotwire, dated June 24, 2015          H; R

642   DEF_01108421-         Coin-Exch Shareholders Agreement dated April 2, 2013                      COM
643   DEF_01108601-         Email from C. Wright to C. Ayre re Current Development, dated August      H; R; UP
                            3, 2015
644   DEF_01110015-         Email from D. McMaster to C. Wright re Venue dated December 23 2013       H; R; A

645   DEF_01588026-         HighSecured Invoice                                                       H; R; CHAR

646   DEF_01590090-         Email from R. De Gracia to A. Sommer re letter dated May 30, 2015         H; R; UP; P;
                                                                                                      CHAR
647   DEF_01591145-         Bitmessage Screenshot                                                     A; R; CHAR

648   DEF_01595292-         Private Ruling Application
649   DEF_01598381-         GST Calculation Worksheet for Craig Wright R&D                            H; R; SPEC;
                                                                                                      CML
650   DEF_01604015-         Email from R. Watts to A. Synnott re Missing Pages, dated March 31,       H; R; CML
                            2015
651   DEF_01604018-         Response to ATO Letter                                                    H; R; UP

652   DEF_01607617-         Email from S. Matthews to C. Wright and R. Watts re Hotwire, dated July   H; R; CML
                            24, 2015


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653   DEF_01630526-         Email from C. Wright to A. Ellis                                          R; H; CHAR

654   DEF_01666214-         Email from C. Wright to N. Mavrakis re RDPlan, dated March 1, 2014        H; A; P

655   DEF_01667373-         Hotwire PE Investment Presentation                                        H; R; A

656   DEF_01854257-         W&K Operating Agreement                                                   H; A; CML

657   DEF_01854271-         W&K Operating Agreement                                                   H; A; CML

658   DEF_01854288-         W&K Operating Agreement                                                   H; A; CML
659   DEF_01854302-         W&K Operating Agreement                                                   H; A; CML

660   DEF_01891039-         Email from C. Wright to A. Sommer re BTC, dated December 30, 2014         H; P; R

661   DEF_01894955-         Email from R. Watts to C. Wright re Termination of Engagement, dated      H; R; CML;
                            July 6, 2015                                                              ILO
                            attachment: Letter from A. Sommer to R. Watts re DeMorgan Limited -
                            Termination of engagement

662   DEF_01894956-         Letter from Clayton Utz to R. Watts dated July 6, 2015                    H; R; P; UP;
                                                                                                      CHAR;
                                                                                                      CML; ILO
663   DEF_01896026-         Email from J. Chesher re what occurred dated February 26, 2014            H; R; P

664   DEF_01913789-         Email from C. Wright to J. Chesher re External Companies dated February   P; H
                            28, 2014




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665   DEFAUS_00115519-      Email from J. Chesher to C. Wright re Transcript and Meeting Minutes    H; R
                            [DLM=Sensitive], dated March 6, 2014
666   DEFAUS_01810761-      Screeenshot                                                             H; A; IC;
                                                                                                    CML
667   DEFAUS_01863888-      Email from C. Wrigh tto A. Sommer re BTC                                H; R; P

668   KLEIMAN_00001693-     Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014   H; A; SPEC;
                                                                                                    CML
669   KLEIMAN_00004284-     Email from C. Wright to I. Kleiman re Dave, dated February 15, 2014     H; R; UP;
                                                                                                    CHAR
670   KLEIMAN_00385761-     Email from I. Kleiman to C. Wright re David, dated June 21, 2016        H; R; UP;
                                                                                                    SPEC; CML
671   DEF_00000045-         Bitmessages from Dave, dated January 15, 2013                           H; A; IB;
                                                                                                    CML
672   DEF_00000384-         Bitmessages from Dave, dated January 15, 2013                           H; A; IB;
                                                                                                    CML
673   DEF_00008751-         W&K Info Defense Research LLC Invoice to Strasan Pty Limited            H; A

674   DEF_00013028-         Email from L. Wright to C. Wright re R&D proposal, dated March 24,      H
                            2014.
675   DEF_00013369-         Affidavit of Lynn Wright (Wright v. W&K Info Defense Research LLC,      H; A
                            NSW Supreme Court)
676   DEF_00015989-         Email from C. Wright to S. Moulton, C. Ball and cc: various re:         H; R
                            Keynote.doc, dated September 28, 2009
677   DEF_00023312-         Email from C. Wright to shalyce.dempster@ato.gov.au re: evidence        H; UP; ILO

678   DEF_00025400-         Email from C. Wright to Ramona A re: Dave, dated April 21, 2011.



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679   DEF_00025402-         Email from C. Wright to Ramona A re: Bravery, dated April 22, 2011.        R; CHAR;
                                                                                                       UP
680   DEF_00029168-         Business Reports & Values- Software Engineering Valuation, dated           H; A; ILO;
                            November 13, 2014.                                                         SPEC; CML
681   DEF_00029612-         Email from A. Pedersen to C. Wright and R. Watts re: Valuation attaching   H; ILO;
                            DeMorgan 1.pdf, dated November 16, 2014.                                   SPEC
682   DEF_00031484-         Email from C. Wright to L. Mees, cc: C. Pilgrim, J. Aitken, R. Watts re:   H; R; UP
                            Further C01N tax return queries with attachments, dated June 17, 2014.
683   DEF_00034411-         Email from C. Wright to D. Kleiman, P. Henry, B. Long, C. Conrad, cc:
                            R. Lee re: Forensic Common Body of Knowledge, dated November 16,
                            2008.
684   DEF_00035083-         Email from J. Chesher to C. Wright re: Hotwire PR with attachments,        H; R
                            dated February 23, 2014.
685   DEF_00038396-         Patents Progress & Prioritization document, last updated January 13, 2015. H; A; R

686   DEF_00046096-         GICSR Bitcoin Wallet                                                       H; R

687   DEF_00046501-         Email from C. Wright to A. Pedersen, cc: R. Watts re: Before you are       H; R
                            going on leave -> Please, call, dated January 17, 2014.
688   DEF_00046524-         Email from C. Wright to J. Turanec, cc: S. Savanah re: HOTWIRE             H; R
                            PREEMPTIVE INTELLIGENCE PTY. LTD.- Commercialisation
                            Australia Stage 1 application - Panel invite [DLM=For-Official-Use-
                            Only], dated January 23, 2014.
689   DEF_00051996-         Stephen D'Emilio Statutory Declaration, dated October 11, 2013.            H; A; R

690   DEF_00052104-         Email from S. Matthews to R. Watts re: Check of corporate records, dated   H; R; A
                            January 12, 2016.




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691   DEF_00052152-         Email from C. Wright to S. Matthews, V. Brooks, A. Edwards, cc: R.       H; R
                            MacGregor, bcc: R. Watts re: London, dated March 30, 2016.
692   DEF_00052461-         Email from R. Watts to R. MacGregor, cc: S. Matthews, C. Wright re:      H; R; A
                            Gavin and SN talked in early 2010 not 2009, dated May 3, 2016.
693   DEF_00054838-         C01N Pty Ltd, Response to ATO letters, dated February 5, 2015.           H; R; UP; A;
                                                                                                     P
694   DEF_00056033-         Austrailian Taxation Office- Reasons for Decision for Denariuz Pty Ltd   H; R; A; PR;
                            for the period 1 July 2013 to 30 June 2014, dated March 21, 2016.        UP; CHAR;
                                                                                                     COM
695   DEF_00065727-         Email from C. Wright to R. Watts, S. Matthews re: Hey, dated November    H; R; SPEC;
                            25, 2015 (12:21:46 AM).                                                  IB
696   DEF_00069972 -        Email from C. Wright to S. Matthews, R. Watts, R. MacGregor re: Hey,     H
                            dated December 8, 2015.
697   DEF_00075205-         Email from C. Coyne to C. Wright re: CACS followup                       H; R
                            [SEC=UNCLASSIFIED], dated September 22, 2011.
698   DEF_00076955-         Email from C. Wright to R. Manu, cc: J. Wilson, R. Watts re: Cold        H; R
                            Storage, dated October 16, 2013.
699   DEF_00174928-         Email from R. Watts to D. Watts re: Phone Bills, dated September 4,      H; R; A
                            2012.
700   DEF_00275901-         Email from C. Wright to Ramona A re: Over Qualified, dated November      R; CHAR;
                            18, 2010.                                                                UP
701   DEF_00470648-         Email from C. Wright to R. Watts re: ThinkGeek.com Order #4d6e87310,     H; R
                            dated November 5, 2013.
702   DEF_00751918-         Craig notes from Xenon Meeting dated October 24, 2014.                   R; H; A;
703   DEF_01096948-         Message details from D. Kleiman, dated January 15, 2013.                 H; R; A;
                                                                                                     CML
704   DEF_01099563-         Craig Wright Response to Macquarie Telecom PoD (HWPE), dated             H; R; A
                            October 8, 2014.


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 705       DEF_01618143-         Email from R. Watts to A. Lodhi re: Hotwire Preemptive Intelligence      H; R; A
                                 Advance Finding and Overseas Finding [DLM=Sensitive] ->
                                 Supercomputer - Australian Activity - from AusIndustry, dated November
                                 26, 2015.
 706       DEF_01912866-         CWRD- A response to the ATO questions (Part 2) for Craig Wright R&D      H; R; A;
                                 (ABN 72 433 066 448)                                                     MIL; UP
 707       DEF_01913864-         Attachment - Questions for Dr Craig Wright                               H; UP; P;
                                                                                                          MIL
 708       DEF_01914240-         Email from C. Wright to J. Chesher, A. Sommer, cc: R. Watts re: NSWSC    H; P; SPEC;
                                 transactions, dated April 23, 2014.                                      R




                                      Respectfully submitted,
Dated: March 17, 2021
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                                              David Kleiman and W&K Info Defense
                                              Research, LLC.


                                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 17, 2021 a true and correct copy of the foregoing was filed with CM/ECF, which caused a

copy to be served on all counsel of record.


                                                  /s/ Velvel (Devin) Freedman
                                                  Velvel (Devin) Freedman




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